   Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 1 of 21




                    EXHIBIT 4


                       CONFIDENTIAL
 In accordance with a protective order, the enclosure(s)
shall be treated as confidential and shall not be shown to
   any person other than those persons designated in
           paragraph 8.2 of the paragraph order.
         Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 2 of 21




                                                FEDERAL RESERVE BANK
                                                                OF DALLAS

     WILLIAM H. WALLACE
     FIRST VI
            CE                                                                                                          DALLAS TEXAS 75222
                                                                 June 4, 1985
                                                                                                                       Circular 85-75
   TO:    The Chief Executive Officer of all
          depository institutions and others concerned
          in the Eleventh Federal Reserve District

                                                                    SUBJECT

             Federal Reserve policy statement on the control and reduction of risks to depository
    institutions participating in large-dollar wire transfer systems, together with four related
    requests for public comment.

                                                                    DETAILS

            After extensive comment from the public, the Federal Reserve Board has adopted a policy to
   control and reduce the risks to depository institutions which participate in large-dollar wire
   transfer systems.  The policy calls on private networks and depository institutions to reduce their
   own credit risks, particularly from daylight overdrafts.  It also makes use of the examining,
   monitoring, and counseling role of the Federal Reserve and other financial institution regulators.

            The policy takes effect March 27. 1986, but depository institutions which incur daylight
   overdrafts on Fedwire or participate in private large-dollar wire networks are encouraged to adopt
   voluntarily by December 31, 1985, a cross-system sender net debit cap following guidelines
   established by the Board.

              At the same time the Board requested public comment on four related issues:

            --Docket No. R-0515A, on reducing risks from the transfer of book-entry securities on
   Fedwire (comments to be received by August 15, 1985);

            --Docket No. R-0515B, on reducing risks from automated clearing house (ACH) transactions
   (comments to be received by August 15, 1985);

            --Docket No, R-0515C, on reducing risks from the provision of net settlement services to
   other than large-dollar transfer systems (comments to be received by August 15, 1985); and

            --Docket No. R-0515D, on a proposed data collection request for ex post monitoring of
   automated clearing house transactions corrments to be received by June 17, 1985).

            Comments should be addressed to Mr. William W. Wiles, Secretary, Board of Governors of the
   Federal Reserve System, Washington, D. C.  20551. All correspondence should refer to the appropriate
   docket numbers and should be received by the appropriate deadlines.

            In the near future the Federal Reserve Bank of Dallas will hold educational meetings
   concerning the implementation of this new policy for the depository institutions most likely to be
   affected. Additional details on these meetings will be provided to the institutions concerned at a
   later date.

                                                                 ATTACI4ENTS

            The Board's press release, the Boards policy statement (with appendix) as published in the
   Federal Register, and the four requests for public comment are attached,




                                                                                                                                                       J
                                                              MORE INFORMATION

             For further information, please contact George C. Cochran, III, Senior Vice President, at
    (214) 651-6257, or Neil B. Ryan, Senior Vice President, at (214) 651-6330.

                                                                                       Sincerely yours,

                                                                                                                                             EXHIBIT

              For a&monaI copies of any circular please contact the Public Affairs Department at 12141 6.1 -828g. Banks and othets are
              encoura ged to use Ihe following Incom i
                                                     ng WATS numbers in 0001501mg this Bank (800) 442-7140 (intrastate) and (8001              /2/I
              $27-9200 (interstate).

This publication was digitied and made available b,y the Federal Resen'e Bank of Dallas' Historical Libray (FedFIistory@dalfrb.org)
  Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 3 of 21




FEDERAL RESERVE press


For immediate release                                                     May 17 , 1985


             The Federal Reserve Board today issued a statement of its policy to

control and reduce the risks to depository institutions participating in large-dollar

wire transfer systems.

             The policy calls on private networks and depository institutions to reduce

their own credit risks.     It also depends, in part, on the role of the Federal Reserve

and other financial institution regulators in examining, monitoring, and counseling

institutions.

             Large-dollar networks are an intregal part of the payments and clearing

mechanism.     Current data indicate that total daylight overdrafts average $110 to

$120 billion per day.     A daylight overdraft occurs when an institution has sent funds

over Fedwire (the Federal Reserve wire transfer system) in excess of the balance in its

reserve or clearing account, or it has sent more funds over a private wire network than

it has received.

             Because a failure of a participant to settle its net position on a private

large-dollar network could cause substantial disruption in financial markets, one of

the Board's major objectives in establishing its policy is to reduce the possibility

of a settlement failure.     This would be accomplished primarily through a reduction in

the volume of overdrafts and by encouraging institutions to exercise better control

over exposures that remain.

             In establishing its policy, the Board made it clear that it is not condoning

the use of this practice by depository institutions.    While some degree of Intra-day

credit may be necessary to keep the payments mechanism operating smoothly, the Board

expects to see, over time, a reduction in both the total volume of daylight over-

drafts and the number of institutions with a pattern of substantial reliance on
  Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 4 of 21


                                          -2-
such credit.       After reviewing the initial impact of the new policy, the Board

may adopt additional guidelines to reduce further the volume and incidence of

daylight overdrafts and other use of intra-day credit.

               The Board's policy becomes effective March 2?, 1986,

               The Board encourages each depository institution that incurs daylight

overdrafts on Fedwi.re or participates on private large-dollar wire networks

voluntarily to adapt by December 31, 1985, a cross-system sender net debit cap

 (a sender net debit cap that applies across all wire transfer systems as a total)

following the guidelines that the Board established, 1/

               The Board's policy also states that no large-dollar payment network will

be eligible for Federal Reserve net settlement services unless it:

     1.        requires each participant to establish a maximum net amount it is willing

               to receive from any sender (bilateral net credit limit).

     2.        establishes a maximum ceiling on the amount of intra-day credit a sender

               may incur (sender net debit cap) reasonably designed to reduce the risks

               to participants on that network;

     3.        develops and implements a system that will reject or hold any payment

               that would exceed either bilateral net credit limits or the network's

               sender net debit cap; and

     4.        agrees to provide transaction data to its Reserve Bank on request.

          In addition to its policy action, the Board also requested comment
by August iS, 1985 regarding

          --   the treatment of Fedwire overdrafts resulting from transfer of book-entry
               securities;

          --   automated clearing house issues; and

               net settlement issues.

               The Board also requested comment by June 17, 1985 on a proposed data

collection for e< post monitoring of authomated clearing house transactions.

               The Board's notices are attached.

 Attachments                                -0-


1.  The cross-system cap selected should have two components:  a ceiling on the net
debit position that an institution could incur on any singe day, and a limit that
the institution could incur on average over a two-week period. For example, if an in-
stitution rated itself as "average under the Board's guidelines, it would not allow
its net debit position to exceed 1.5 times its capital an any single day or 1.0
times its capital on average over a two-week period.
    Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 5 of 21



21120       Federal Register /Vol   50, No. 99   /Wednesdays May 22, 1985 /Notices




                                                                   FEDERAL RESERVE SYSTEM
                                                                   [Docket No. R-.05153
                                                                   Policy Statement Regarding Risks on
                                                                   Large-Dollar Wire Transfer Systema
                                                                   4GtuCv: Board. of Governors of the
                                                                   Federal Reserve System.
                                                                   ACTION1 Policy statement.

                                                                   SUMMARY. In March, 1984, the Board
                                                                   requested public comment on several
                                                                   proposed methods of reducing the risks
                                                                   to depository institutions associated
                                                                   with their participation on large-dollar
                                                                   electronic funds transfer systems. After
                                                                   studying the public comments and
                                                                   recent data on the exposure of
                                                                   institutions using such systems, the
                                                                   Board has formulated apolicy to reduce
                                                                   these risks. The policy relies in part on
                                                                   the efforts of depository institutions to
                                                                   reduce their own exposures through the
                                                                   use of bilateral net credit limits and
                                                                   sender net debit caps, and in part on the
                                                                   role of the Federal Reserve and other
                                                                   financial institution regulators in
                                                                   examining, monitoring and counseling
                                                                   institutions.
                                                                      Effective March 27. 1986, no large-
                                                                   dollar payment network will be eligible
                                                                   for Federal Reserve net settlement
                                                                   services unless it (1) requires each
                                                                   participant to establish bilateral net
                                                                   credit limits vis-a-vis each other
                                                                   participant on, that network, (Z)
                                                                   establishes asender net debit cap that 16
                                                                   reasonably designed to reduce the risks
                                                                   to participants on that network, (3)
                                                                   develops and implements asystem that
                                                                   will reject or hold any payment that
                                                                   would breach either bilateral net credit
                                                                   limits or the network's sender act debit
                                                                   cap, and (4( agrees to provide
                                                                   transaction data to its Reserve Bank on
                                                                   request.
                                                                      The Board also strongly encourages
                                                                   each institution that runs daylight
                                                                   overdrafts on Fedwire or participates on
                                                                   aprivate large-dollar wire network to
                                                                   adopt voluntarily by December 31. 1985.
                                                                   across-system sender net debit cap
                                                                   fo llow i
                                                                           ng the guidelines set out in an
                                                                   appendix to the Board's policy
                                                                   statement
                                                                   erracrtve DATE March 27, 1B85.
                                                                   FOR FURTHER INFORMATiON CONTAC1'
                                                                   Edward C. Ettin, Deputy Director (202—
             Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 6 of 21



                                                            Vol. 50, No. 99                           Y.     ay 22, 1          Notice's

 452-3305), David B. Humphrey;                               activities and exposures of institutions             policies, be adopting guidelines
 Assistant Director (2fl2-452-2534                           on largedollnr networks and the                      designed to reduce further the volume
 Terrence Belton, Economist (202-452-                        recommendations of its staff, 5 the Board            and incidence of daylight overdrafts and
 2'1441, Division of Research and                            has developed arisk reduction policy.                other uses of intra-day credit. If
 Statistics; F,UiO1I C. McEntee, Associate                      In fashioning this policy, the Board's            institutions appear not to be cooperating
 Director (202-452-2231), Nancy R.                           first concern was seducing the                       with the spit-it of the Board's current or
 Weaolowski, Operations Analyst (202-                       possibility of asettlement failure. This is           future policies, the Board will consider
 452-3437), Division of Federal Reserve                     accomplished primarily through a                      its other options—including regulatory
 Bank Oparotiona; Joseph R Alexander,                       reduction in the volume of intra-day                  restraints.
 Atlotney (202-452-2459), Legal Division;                   credit exposures and by encouraging                      The elements of the Board's risk
 Jeffrey C. Marquardt, Economist (202-                      instituti ons to exercise better control              reduction policy are set out below.-
 452-2350), Division of International                       over exposures that remain. Reduction
 Finance; Anthony G. Cornyn, Assistant                      and control of credit exposures are also              1. Bilateral Net credit Limits
 Director (202.452-3354), Division of                       important in attaining asecond primary                     In its earlier statement announcing an
 Banking Supervision and Regulation; or                     goal; containing the effects of a                      interim risk-reduction policy, 49 FR at
 Joy W. O'Connell, ID!) (202-452-3244).                     settlement failure should one occur.                   13191. the Board stated that any large-
 SUPPL EMENTARY INFORMA'nott The                               The Board is well aware that large-                 dollar network obtaining net settlement
 Federal Reserve Board has issued the                       dollar networks are an integral part of                services from aFederal Reserve Bank
 following policy statement concerning                      the payments and clearing mechanism                    would have to require each of its
 reducing risks on large-dollar electronic                  and that it is,of vital importance to keep
                                                                                                                   participants to establish bilateral net
 funds transfer systems:                                    the payments mechanism operating                       credit limits vis-a-vis each other
                                                            without significant disruption. Indeed, it             participant on that network. In setting
 Reducing Risks on Large-Dollar
                                                            is precisely because of the importance of              bilateral net credit limits, each
 Electronic Funds Transfer Systems
                                                            avoiding such disruptions that the Board               participant determines for itself the
    Over the past several years, the Hoard                  is seeking to reduce the risks of
                                                                                                                                                          -




 has become increasingly concerned                                                                                 maximum dollar amount of net transfers
                                                            settlement failures that could cause                   (I e.. th evalue of receives in excess of
 about the risks that participation on                      these disruptions, The Board is also                   the value of sends) that it is willing to
 largadollar payment networks present                       aware, however, that some intra-day
 to the depository institutions that                                                                               accept from each other participant on a
                                                           credit may be necessary to keep the                     network. The Board believes that
 participate on them, to the banking                       payments mechanism running smoothly                     bilateral net credit limits reduce risk by
 system, and to other sectors of the                       and efficiently. While it is essential to
economy,       cause private wire                                                                                  enabling an institution to identify and
                                                           reduce and control intra-day credit, this
netw orks operate by the transmission of                                                                           control the exposure it could face in the
                                                           must be done in amanner that will                       event of asettlement failure,
payment messages throughout the day                        minimize disruptions to the payments
with set Ile ;nent of net positions at the                                                                        Accordingly, the Board has decided to
                                                           mechanism, The Board anticipates that                   continue this requirement and
and of the day, the network is exposed                     in relying largely on the efforts of                   strengthen it.
to the possibility that aparticipant could                 individual institutions to identify,
be unwilling or unable to settle alarge                                                                               After the effective date of this policy
                                                           control, and reduce their exposures, And
net debit position. A failure of one                                                                               (March 27, 1985), no private large-dollar
                                                           by establishing guidelines for use by                  payment network will be eligible for
participant to settle could seriously                      Institutions, the goal of reducing and
jeopardize the financial positions of its                                                                         Reserve Bank net settlement services
                                                           controlling risks will not unduly disrupt
net creditors on that network, with                                                                               unless it (1) requires each participant to
                                                           the smooth operation of the payments
serious repercussions spreading from                                                                              establish bilateral net credit limits vis-a-
                                                           mechanism.
those participants to their creditors,                                                                            vis each other participant on that
                                                               In establishing such apolicy, the
Thus, an unexpected settlement failure                                                                            network, and (2) establishes asystem
                                                           Board underlines that it is not condoning
could result in serious disruptions of                                                                            that will select or hold any payment that
                                                           daylight overdrafts. While, as noted,
money and financial markets.                                                                                      would exceed such alimit. (Bilateral net
                                                           some intra-day credit may be necessary,
   On March 29. 1984, the Board                                                                                   credit limits do not apply to Fedwire
                                                           the Board anticipates that as aresult of
requested public comment on possible                                                                              since the Federal Reseryd, under
                                                           its policy, there wilt not be an increase
components of arisk reduction policy,                                                                             Regulation) provides In-evocable credit
                                                           in the number of institutions
including both the goals that such a                                                                              to the receiver when advice of credit is
                                                           consistently relying on daylight
policy should seek to attain and several                                                                          given for the transfer . Reserve Barks
                                                           overdrafts or other intro-day credit to
possible methods for controlling and                                                                              however, may take action to reduce
                                                           conduct their business, and expects to
reducing risk. 49 FR 13186 (Apr, 3, 1984).                                                                        their credit exposure,
                                                           see, over time, areduction in both the
After considering the comments,                                                                                       The federal brink regulators have
                                                           volume of intra-day credit and the
together with recent data on the                                                                                  agreed that examiners will, during
                                                           number of institutions with apattern of
                                                                                                                  regular examinations, review and
                                                           substantial reliance on such practices,
                                                                                                                  comment on the procedures used by
   'Ia it cta toe te c   hnological and rsuIatory          The policy presented below is purposely
cwronnwnt it i       snot Po ssible or desirable toadQpt                                                          each institution in establishing,
                                                           designed to minimize initial disruptions
                                                                                                                                                         -

or, all in3un,s and permatauit dtfladlion of a                                                                    monitoring, reviewing, and modifying
"large-dollarpayrnexrt notwartc' for the purpose of        and permits the Board to monitor the
                                                                                                                  bilateral net credit limits, and ensure
Fadar-at      sa,-e risk roatmi polina, to dtermthloe      impact of its policy on financial markets,
whetter any prttculor networic or ayatern is a                                                                    that institutions understand their
                                                           The Board fully expects that it will, after
"tare-daltar' system, ;he Board wttl considerany                                                                  potential exposures with each other
                                                           review of th# initial impact of its
of ite ruawtoe four fa         rs:fl me employment of                                                             participant over more than one network
muttitet.,rot riwi   ns arrongeenenta, tZ) tIre oat of
                                                -
                                                                                                                  and in more than one market,
aatnre-dsy eeimlemeot, 5) iheroutine pr,anntngofr,           ethe aloft recammeodaftono are cont ained in a
signific ant number of individual payment, larger          *tudy, Redrrcia,g !t,'ak no £n,'ye Dollar Thrnthmr     U. Sender Net Debit Caps
than $5O.O, and (4) the possibility that any one           S;-.uems P's. 55a5), Copies of this Study are
panteipanl could be exposed to anet debit poaton           ec,rftohk trnt tech of the Pedmal at-at-rae Banks or     Bilateral net credit limits are not
a; mt,e tint,. of nefttonteni in excess 01its capttt       the Serremery of the Board,                            sufficient by them selves to reduce
        Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 7 of 21




21122                    Federal R                      Vol. 50, N. 99           ' Wednesday,            May a 1985 1Notices


aggregate risk on—large—dollar payment                  of depository institutions, each with                        The guidelines to be used by each
netwo9. The volume of daylight                          differing abilities to deal with risk. At                    institution in establishing its cap
exposure that each institution is willing               the same time, the Board it concerned                        category are detailed in the Appendix to
to accept from each other institution is                that voluntary sender net debit caps                         this policy st.atemetit.
likely to be quite large when aggregated                might provide no discipline, end up                             In applying these guidelines, each
across all receivers. Moreover, each                    treating similarly situated institutions                     institution would be expected to
institution is unaware of the credit made               differently, place no effective limit on an                  maintain aconfidential file for examiner
available to agiven sender by other                     individual institution's risk exposure.                      review that includes (1) worksheets and
potential receivers. For this reason, the               and provide no remedy for the Federal                        supporting analysis developed In its
Board believes that bilateral net credit                Reserve should it find aparticular cap                       self-evaluation of its own risk category,
limits must be supplemented by alimit                   excessive.                                                   (2) copies of senior management reports
on the aggregate amount of risk that an                    Consequently, the Board's policy calls                    to the institution's board of directors
institution can present to the payments                 for avoluntary cross-system sender net                       regarding that self-evaluation, and (3)
system. Accordingly, the Board strongly                 debit cap board on aspecific set of                          copies of the minutes of the discussion
urges that the board of directors of each               guidelines and some degree of examiner                       of the board of directors concerning the
institution either participating on a                   oversight. The Board's policy has no                         institution's adoption of acap category.
large-dollar network or incurring                       regulatory dimension except (1)                              The process of self-evaluation, with
daylight overdrafts on Fedwire adopt a                  potential responses to an actual level of                    board of director review, should be
sender net debit cap (a ceiling or "cap"                aggregate daylight credit exposure at an                     conducted at least once In each six
on the aggregate net debit position—the                 individual inStitution deemed by the                         month period.
value of all sends in excess of the value               institution's examiner to be unsafe or                           As part of its normal examination, the
of all receives---that it can incur daring a            unsound, (2) elimination of access to                         depository Institution examiners will
given interval).                                        daylight overdrafts on Fedwire by                             review the contents of the self-
    Sender net debit cups—expressed as                  institutions not engaging in the sell.                        evaluation lule, The objective of this
 multiples of capital—should be applied                 evaluation process, and (3) control of                        review will be to assure that the
 across all large-dollar systems, i.e.. to               Fedwire overdrafts of individual                             institution has seriously and diligently
 the aggregate position of an institution               institutions determined by aReserve                           applied the guidelines, that the
 at amoment in time on all large-dollar                 Bank to expose it to excessive risk. If                       underlying analysis and methodology
 transfer systems combined. With this                    events subsequently demonstrate that                         were reasonable, and that the resultant
 "cross-system" sender net debit cap, net                senior management and the boards of                          self-evaluation was generally not
 debit positions on one system can be                    directors of depository institutions do                      inconsistent with the examination
 offset by credit positions on other                     not take the proposed guidelines and                         report. Examiner cements. If any.
 systems.* In addition to the cross-                     procedures seriously, the Board will                         would be expected to be forwarded to
 system sender net debit cap, the Board                  reconsider its options, including the                        the board of directors of the institution.
 has extended its interim policy on                      adoption of regulations designed to                          Consistent with the voluntary nature of
 private network sender netdebit caps.                   imposq explicit limits on daylight credit                    the Board's policy with regard to sender
 As of the effective date of this policy,                exposure,                                                    net debit caps, however, it should be
 each private network will, as a                        A. Determining Cop Category                                   emphasized that the examiner cannot
 condition for access to the Federal                                                                                  require amodification of the self-
 Reserve net settlement service, be                       The first step for an Institution in                        evaluation cap category unless the level
 required to develop and impose on its                  establishing its cross-system sender net
                                                                                                                      of daylight credit used by the institution
 participants anetwork sender net debit                 debit cap is to determine its own cap
                                                                                                                       constitutes an unsafe or unsound
 cap reasonably designed to reduce                      category by evaluating its
                                                        creditworthiness, credit policies, and                         banking practice.
 individual institution risk exposure on
  that network. In addition, each network               operational controls and procedures, ,                        B. Establishing Sender Net Debit Cap
  will be required to develop and apply a                                                                               The cap category resulting from the
  mechanism for rejecting or holding those                  'The Board acknowledges with appreciation that
                                                         its policy draw-s heavily on the Tho! Report of the
                                                                                                                      self-evaluation process should be used
  transfers that would cause an institution              flial. Cnfro! Took Farce. Payments Syetom                    by each institution to establish its cross-
  to exceed its cap.                                     Committee, Association of Reaeive City Bank,'.               system sender net debit cap. The cap
     In developing Its policy toward cross-              prepared with the assistance of the Peek                     levels, set as multiples of adjusted
  system sender net debit caps, the Board                Administration Institute and Robert Mont.
                                                         Associates (October, 1S84).
                                                                                                                      primary capitol,' would be as foUows
  noted the views of commenters strongly                    'This evaluation should be done on an Individual
  urging that new regulations be avoided                 tnatltution bseis-4re*tlttg u s.p.r.ts entities each
  and that voluntary self-policing                       comments! bank. each Edge (and its broch).
                                                         eachthrift institution, etc. White the board restless
  techniques beat least tried. In addition,
                                                          that depository Institution holding companies
  the Board is uncertain about the impact                usually sd es inteyrited entitles and that
  of regulatory controls on the payments                  performing the self-evslttton on an individual
  mechanism. Moreover, the Board is                       ins tit uti on bas i
                                                                             s may result in some increased costs,

  sensitive to the practical difficulties of              consolidation presents in the Federal Resete and
                                                          other ilnanelsi Institution reuietors anumber of
  selecting regulatory caps for thousands
                                                          operating and polity complexities that must be
                                                            solost The Board will continue to review this
     M noted below, however. Reserve Banks wilt           teats, hut notes that many of the benefits of
                                                          consolidation can be obtained directly by tntrs-            consolidated family relying on the f
                                                                                                                                                         oreign beck's
 not permi  tda)415M overdrafts on Fedwwe to exceed
 the cxoae-ayatem cap established by an Inslitutioc       family wire transfers,
                                                                                                                        i the interim between examinations, examiners
                                                                                                                        0
 La,. net credit, on private wire systems will not be        An exception is made in the case of U.   S. agencies
 able lobe used to Increase the Fedwtre cap A             and branches of foreign banks. Since these entities         may contact an Institution about its cap if statistical
                                                          base no existence separate from the foecign bank,           or supervisory teports or ad hoc information etteat
 pimitar arrangement will existfor private,network
 participants where net credit* on Fe4wIre and other      all the 0$ offices of foreign banks (exc1ding US,           that there may have been athings in the
 Ovate setwoets c5u0o1 be used to inntseae a              chartered bank ittb.Id'.ades ind U'S. chartered             institutions position.
 participant's cap on agiven private ntwo,k,              Edge sub.idia.ie,) should bs treated ass                      'See Section U-C on capital. 1"m.
           Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 8 of 21



                            Federal Register /Vol. K. No, 99                             ,'May 22,1            Notices                21123

 An institution would he expected to                   primary capital componenii.iess all         areporting form that would allow the
 avoid incurring cross-system net debits               Intangible assats.nd deferred net losses    Federal Reserve to collect more timely
 that, on average over atwo week                       on loans and other assets sold. Adjusted    Information on the world-wide
 period, exceeded the two week average,                primary capital for thrift institutions     shareholder equity capital of foreign
 cap and, on any day, exceeded the                     would include any capital assistance        banks that use intra-day credit. To
 single day cap. The two week average                  provided by the Federal Deposit             reduce reporting burden, the report
 cap provides some flexibility for                     insurance Corporation in the form of net    would likely allow aforeign banking
 institutions and recognizes that                      worth certificates pursuant to 12 U.S.C.    organization that had not experienced
 fluctuation in payments can occur from                1729(1) or 1823(i).                         losses during areporting period simply
 day-to-  day. The purpose of the higher                  Any Institution with negative adjusted   to warrant that fact rather than to
 single day cap is to limit excessive                  primary capital will be permitted to        provide more frequent quantitative
 daylight overdrafts on any day, and to                incur daylight overdrafts on Fedwire        capital information, Organizations that
 assure that institutions develop internal             only with the permission of its Reserve     had experienced losses would be asked
 controls that focus on the exposures                  Bank, and all such overdrafts will have     to provide updated equity capital data.
 each day, as well as over time.                       to be collateralized.                       Any proposed information collection
    The two-week average overdraft                        In some instances. further adjustments   procedure will be published for
 volume to be measured against the cap                 will be required. For example, virtually    comment prior to implementation.
 is the average over atwo-week reserve                 all Edge Act and agreement
 maintenance period of an institution's                corporations are subsidiaries of            D. Additional Considercrtiws
daily maximum net debit position across                depository Institutions that may               The contents of the self-evaluation
all network. In calculating the two week               themselves use Intra-day credit. The        cap category file will be considered
average, individual days on which an                   same capital would be double-counted if     confidential by the institution's
institution is in an aggregate net credit              both the parent and the Edge Act or         examiner. Similarly, the actual cap level
position across all systems throughout                 agreement corporation subsidary used        selected by the institution will be held
 the day should be treated as if the                   such credit based on their own capital      confidential by the Federal Reserve and
Institution was In anet position of zero.              bases, Accordingly, if aparent elects to    the institution's examiner. Finally, the
The number of days to be used In                       permit Its Edge Actor agreement             Board notes that exceptional
calculating the average should be the                  corporation subsidiary to use daylight      circumstances may require an institution
number of business days the                            credit, any adjusted primary capital        to incur overdrafts in excess of its cap.
institution' sReserve Bank is open during              attributable to its Edge Act or agreement   Such apattern of overdrafts shouldbe
the reserve maintenance period.                       corporation subsidiary that is reflected     discussed with the Reserve Bank wi     th
    It should be noted that the Board has             on the parent's balance sheet should be      specific plans developed to reduce the
purposely set the recommended caps to                 subtracted from the parent's capital. The    intra-day credit positions as soon as
be associated with each category at                   parent could choose, however, not to         possible to alevel within the
relatively high levels so that institutions           permit its Edge Act or agreement             institution's cap,
and their examiners can gain experience               corporation subsidiary to use intra-day
with caps while maintaining amargin of                credit, and use all of its (the parent's)    Ill. Other Components of the Board's
flexibility for most institutions. The                capital for its own cap.                     Policy
Board will evaluate these caps                           In determining cross-system sender
continuously, and expects to have                                                                  A. Dayliyhl Overdrafts on Fédwire
                                                      net debit cap levels, U.S. branches and
enough data on their impact to                        agencies of foreign banks should use the        The Board's concern with risks on
recommend new, lower cap levels by                    world-wide capital of the foreign bank       large-dollar payment systems began
March, I987 The Board. may also                       establishing the branches andf or            with Its concern about daylight
recommend reducing the averaging                      agencies, not that bank's parent.            overdrafts on Fedwire. In response to
period, and may ultimately recommend                  Further, the adjusted primary capital of     this concern, the Board, In 1982, required
asingle day cap only.                                 any U.S. bank subsidiaries of the foreign    Reserve Banks to counsel Institutions
C, Capita)                                            bank should be subtracted from the           that regularly incurred daylight
                                                      foreign bank's adjusted primary capital      overdrafts on Fedwire In excess of 30
  Sender net debit caps should be                     to avoid double counting.                    per cent of capital.
multiples ,of "adjusted primary capital."                Determining world-wide capital for         •The Board is still concerned with
Primary capital includes common stock,                U.S. agencies and branches of foreign        these overdrafts, and believes that it Is
perpetual-preferred stock, surplus,                   banks provides considerable                  appropriate to take effective steps to
undivided profits, contingency and other              definitional and measurement problems.       control risks to the Federal Reserve
capital reserves, qualifying mandatory                Under current procedures, data are           Banks by placing more effective limits
convertible instruments, allowances for               collected through the Y-  .7 report, which   on Fedwire daylight overdrafts,
possible loan and lease losses                        to submitted annually and is due four        Therefore, beginning on March 27, 1988,
(exclusive of any allocated transfer risk             months after the close of aforeign           the Board will establish aFedwire cap
reserves, 5and minority interests in                  banking organization's fiscal year.          for each depository institution. This cap
equity accounts oiconsoltdated                        These procedures result in the Federal       will be equal to the voluntary cross-
subsidiaries, but excludes limited-life               Reserve's foreign bank capital data          system cap adopted by the institution,
preferred stock, "Adjusted" primary                   being more than one year old at certain      reduced by the institution's actual net
capital is defined as the sum of these                tiaras in the reporting cycle. Without       debits on other networks as determined
                                                      more current data, timely monitoring of      in an after the fact measurement
   'Mocsted t   ransfertt3 "serves I"AThR'I are       U.S, agency or branch adherence to           process. This cap will thus be monitored
reaerve* a5an;t certain 55utj whose vIue has
                                                      overdraft limitations would prove            on an ox post basis. (Reserve Banks,
been fmmd by the fatss1 bank regiIstisy agencies
in have been significantly 1.rnatred by        eil'
                                                      difficult.                   -
                                                                                                   however, will monitor an institution's
transfer alit probtem.a. Such reserves are net           In order to alleviate these problems,     Fedwire positions on areal-time basis
considered capital by the agencies,                   the Board has directed its staff to devise   when they believe that the institution is
       Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 9 of 21



                          Federal Register              Vol. 50, No. 99 fWednesday, May 22, 1985 INotices


exposing the Reserve Bank to excessive                    In arelated action (Docket No. R-                obtaining net settlement services,
risk Real time monitors will permit                     0515A), the Board is today requesting              privately-operated A1-ls will be
Federal Reserve Banks to reject funds                   comment on aseries of proposals for                required to provide to the Federal
transfered by—and to pend or hold                       treating Fedwire daylight overdrafts               Reserve the date necessary to include
book-entry securities received for—the                  resulting from the transer of book-entry           such transactions processed over their
                                                        securities. Until the Board -adopts anew           networks In the Federal Reserve's ex
institution when such transactions
                                                        policy In this area, book-entry                    post monitoring system. In another
expose the Reserve Bank to excessive
                                                        overdrafts will remain unconstrained               separate action, the Board is requesting
risk,! The Fedwire cap will not be                                                                         public comment on the parameters of
                                                        and separate from any sender caps
increased by the institution's net credits                                                                 this data collection. (See Docket No. R-
                                                        adopted or placed on Fedwire funds
on other networks. Each Reserve Bank                                                                       0515D.) In addition, pending completion
                                                        transfers, except at problem institutions.
Will, of course, retain the right to protect
                                                                                                           of the ACM study, the Board has
its risk exposure from individual                       C. Automated Clearing Houses
                                                                                                           suspended consideration of providing
institutions by reserving the right to                     When the Board first became                     same-day ACM settlement service by
reduce unilaterally Fedwire caps                        concerned with ri s ks on large-dollar             Reserve Banks.
impose collateralization or clearing                    payment systems, automated cleating
balance requirements, bold or reject                    houses (ACJ-Is) were regarded as small-            0. Net Bafflement Services
Fedwire transfers during the day until                  dollar systems. Recently. however, the                While the Board has thus far been
the institution has collected balances in               ACHs have been evolving in such away               concerned mainly with risks on large-
its Federal Reserve account, and—in                     that they appear to be taking on many of           dollar funds transfer networks, the
extreme cases—take the problem                          the characteristics of larger-dollar               Federal Reserve has long provided net
institution off-line or prohibit it from                transfer systems, and they therefore               settlement services to avariety of other
using Fedwire.                                          present many of the same risks.                    private sector clearing arrangements. In
   Institutions that Incur Fedwire                         Accordingly, the Board has directed             addition to large-dollar funds transfer
 overdrafts for the first time will be                  its staff to undertake astudy of ACM               networks, today these include' check
 subjected to a50 per cent of capital limit             risk. The study will focus on (1) whether          clearing houses, credit card processors.
                                                        the ACH is an appropriate mechanism                ACHa, and smell-dollar funds transfer
pending completion of the self-
                                                        for making large-dollar payments, (2)              networks, such as autbmated teller
 evaluation procedure described above.
                                                        what kind of controls should be                    machine (ATM) and point-of-sale (POS)
 Institutions that do not follow the self-
                                                        implemented if ACM is increasingly                 networks.
 evaluation procedure will not be
                                                        used for large-dollar payments, and (3)               Because the terms of the settlement
 permitted to incur overdrafts on
                                                        how depository Institutions now control            arrangements vary and because there
 Fedwiru, 9
                                                        the financial risk associated with ACH             are questions regarding the risks that
B. Book-en try Securities Trer*sfers                    debit and credit transactions. As part of          these arrangements entail, the Board has
                                                        this study, the Board, In arelated action,         directed its staff to conduct athorough
  In formulating its .daylight overdraft                requesting public comment on aseries of            review of net settlement risk. In
policies, the Board has always been                     questions on ACM risk. (See Docket No.             conducting this study, the staff will
concerned about the impact that                         B-051Sfl.)                                          address (1) whether the terms of net
overdraft restrictions could have on the                   Until the Board's study of ACM risk Is           settlement arrangements should vary
U.S. government securities market and                   complete and the Board has formulated               based on the type of transactions being
on the Board's ability to conduct                       anew policy to deal with ACM risk, the              settled, and (2) how depository
monetary policy through open market                     Board is modifying its ax post                      institutions treat or should treat net
operations. Accordingly the Board,                       monitoring or Intro-day credit to (1)              settlement entries for the various types
pending development of procedures for                    recognize the potential risks associated           of net settlement arrangements.
collateralizing such overdrafts—or other                 with ACM transactions processed by                    To facilitate the stalls study, the
procedures for reducing the Reserve                      both the Federal Reserve and privately'            Board Is, in arelated action (see Docket
Banks' risk exposure—had provisionally                   operated ACFIs, and (2) Inhibit the use            No. R-0515C), today requesting public
exempted from quantitative overdraft                     of ACHa to circumvent the risk                     comment on aseries of questions on the
control those Fedwire daylight                           reduction policies the Board has                   net settlement service.
overdrafts resulting from the transfer of                adopted for large-dollar funds transfer
book-entry securities. 110                               networks. Specifically, for purposes of            E. Edge Act andAgreemeM
                                                         ex post monitoring, gross debits                   Corpinvtions. (JS Branches and
                                                         resulting from the origination of credit           Agencies of Foreign Banks, and New
    'Under the eslf-policing policy adopted by the
 Board. so institution that does not adopts cap for      transactions and the gross credits                 York Article XU In vestimant
 naeU would be able to we without limit all credit       resulting from the receipt of credit               C≥rmpanies"
 ocatabis to it over toy n*te netwcr'a, unless use       transactions will be posted at the
 of such credit wen found to cionstitute an unsafe or
                                                                                                              There are special risks associated
 unsound banking practice by the institution's
                                                         Reserve Bank's opening of business on              with the participation on large-dollar
 examiner. Such behavior. however, would not be           the settlement date, and gross credits            transfer systems of these institutions.
 cosais*ent with the spirit of the *toerd's policy,      resulting from the origination of debit            Some of them are major participants in
    '5 Such overdraft 000ev when the institution          transactions and the gross debits                 such networks, often making and
 recei ving boo.ntsy a.cuiltiea has reoulvad more        resulting from the receipt of debit
 book-entry securities eitalrmt payment at apoint In                                                        receiving alarge volume of payments on
 time thanIt has seoL Sincereceipt ala book-entry         transactions will be posted at the                behalf of affiliates and their parent
 security mid Pedwim payment to the sender of             Reserve Bank's close of business on the
 securities are wimultaneawk the sender of the            settlement date. t' As acondition of
 security receives Fdwlre payment regardless of the                                                            "This section excha5s. discussion of foreign-
  ace overdraft pooltiou of the receiver of the                                                             owned U.S. banks, Induftg 113. benhe that we
  securftles, The tWioftion used lore book-eMr7            '  This posting Procedure is los ax poet         either subsIdIarIes oskeetgn banks orofforeign
  securities overdraft arenas that such an *rve*sft      oronitoeisg purposes and Will,in 0way change       berth holding coarpenisa. 11r*,* entitles bass U.S.
  could occur syse whils the eecMvt's toads account      when actual settlement entries are made or when    bank charters and mpaal in the U.S.. and are
  was is, credit balsam                                  ACH transactions bpcosa. final                     treated identically to any other us. bsok
        Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 10 of 21



                       Federal Register         Vol. 50, No. P9 /Wednesday, May 22, 19&5 /Notices                                                   21125

 organizations, The size of their payment       provide support these institutions                    foreign banks in terms of the world-wide
 activities is generally quite large relative   should be treated in the same manner as               creditworthiness of the entire foreign
 to their US, capital (or capital               their domestically-owned counterparts.                bank.
 equivalent), and thus sender net debit         The policy of national treatment also                    In assessing the Federal Reserve's
 caps would tend to constrain severely          supports this conclusion.                             own risk, however, the Board is still
 the ability of many of these institutions         Accordingly, the Board has                         concerned about the lack of timely
 to participate directly in the U.S. dollar     determined that all Edge Act and                      information filed with Reserve Banks,
payme.ts mechanism, forcing them to             agreement corporations will continue to               and the Federal Reserve's Inability to
deal sier through their ILS. parent (in         be required to collateralize Fedwire                  monitor developments concerning each
the case of Edges) or through U.S.              daylight overdrafts, and strongly urges               foreign bank's non-U.S. operations.
correspondents or affiliates (in the case       that each such corporation restrain its
                                                                                                      Accordingly, the Board has determined
of U.S. agencies, branches. Edge                use of intra-day credit by establishing
                                                                                                      that, only for purposes of determining
subsidiaries of foreign banks, and some         sender net debit caps based on its own
                                                                                                      the volume of aforeign bank family's
New York investment companies).                 capital in the same manner as any other
   In developing its policy for these                                                                 uncollateralized Fedwire overdrafts, the
                                                domestic depository institution in
in stitutions, the Board has sought to                                                                multiples developed from the self-
                                                addition, the Board urges parents of
balance the goal of reducing and                                                                      evaluation process (Section 11-5, above)
                                                Edge and agreement corporations to
managing risk In the payments system,                                                                 will be multiplied by -the consolidated
                                                substitute themselves for their Edge or
Including risk to the Federal Reserve,                                                                U.S. capital equivalency of all of its U.S.
                                                agreement subsidiaries on private large-
with that of minimizing the adverse                                                                   agencies and branches. 14 Any Fedwire
                                                dollar networks,
effects on the payments operations of              For purposes of sender net debit caps,             overdrafts in excess of that amount will
these institutions. In addition, the            the Board suggests that all branches of               have to be collateralized, Any use of
principle of fair and equitable treatment       the same Edge or agreement corporation                intraday credit on private large-dollar
embodied in the U.S. policy of national         be consolidated. The consolidated                     networks will be treated as any other
treatment for foreign banking                   entity's overdraft position will be                   use of intra-day credit and, as noted
organizations was given explicit                monitored by the Reserve Bank of the                  above, the total cruse-system cap of a
consideration.                                  Edge or agreement corporation's head                  foreign bank's U.S. agencies and
   1. Edge Act and Agreement                    office." The monitoring Reserve Bank,                 branches will be based on the world-
Corporations. Under current Board               in consultation with those Reserve                    wide capital of the foreign bank (less the
Policy, all Fedwire overdrafts of Edge          Banks in which the Edge or agreement                  noted adjustments).
and agreement corporations must be              branches operate and the management                      The cross-system sander net debit cas
fully collateralized. This policy reflects      of the consolidated entity, can either (1)            for families of branches and agencies of
the lack of access of these institutions t      determine that Edge or agreement                      the same foreign berth will be monitored
the discount window and the possibility         branches outside its District will not be             by the Reserve Bank which exercises
that the parent of an Edge or agreement         permitted to run Fedwire overdrafts, or               the Federal Reserve's oversight
corporation may be'unable or unwilling          (2) allocate part or all of the Edge or               responsibilities under the International
to cover its subsidiary's overdraft on a        agreement corporation's Fedwire cap                   Banking Act. The administering Reserve
timely basis.                                   (and the responsibility of administering              Bank can, in consultation with Reserve
   The Board believes that Edge Act and         part or all of the collateral requirement)            Banks in which other U.S. agencies and/
agreement corporation subsidiaries of           to aReserve Bank in which one or more                 or branches of the same foreign bank
U.S. banks can, together with their             of the branches operate.                              are located and the management of the
parents, arrange their affairs in away             2. U.S, Branches and Agencies of                   foreign bank's U.S. operations,
that would allow them. to continue to           Foreign Banks, A. noted previously, the               determine that branches and agencies
service their customers at the same time        Board believes that U.S. branches and                 outside its District either will not be
that risk exposures are reduced.                agencies of foreign berths should                     permitted to incur Fedwire overdrafts or
Specifically, the Board notes that the          undergo the same self-evaluation                      will allocate part or all of the foreign
parent of an Edge or agreement                  process as domestic depository                        family. Fedwire cap (and the
corporation could fund its subsidiary           in stitution s,but that it be done on the             responsibility for administering part or
during the day over Fedwire and/or the          basis of all U.S. branch and agency                   all of the collateral requirement) to a
parent could substitute itself for its          operations, rather than on abranch-by'                Reserve Bank in which one or more of
subsidiary on private networks. Indeed,         branch, agency-by-agency basis. In                    the foreign offices operate. '
data suggest that, in virtually all cases,      setting across-system sender net debit
the consolidated Edge and parent                cap, the Board believes that it is
                                                                                                         ' "Capital equivalency" will be defused as the
overdraft position would be within the          appropriate that branches and agencies                greater of (I) the sum of the amount of capital (but
cap limits of the parent if It were             develop acap based on the world-wide                  not surplus) which would be required oft, national
evaluated as an above average cap               capital of the foreign bank (less any                 bank being organized at each branch or agency
institution, even though the Edge's             adjusted primary capital attributable to              location, or 5I the esam oft per cent of the total
overdrafts are very large in relation to                                                              liabilities of each brands or agency. including
                                                subsidiary U.S. banks and Edge Act or                 acceptance,, but excluding IAl accrued expenses
the Edge's own capital. This suggests           agreement corporations reflected in the               and      amounts dueand other liabilities to offices,
that such an approach by the parent             foreign bank's world-wide cap ital). The              branches, and subsidiaries of the foreign bunk.
could both reduce systemic risk                 Board has reached this conclusion                       1*  As in the case of Edge and agreement

exposure and permit the Edge                                                                          corpareliorse and their branches, with the approval
                                                because public comments and other
                                                                                                      at the deisgoeted administering Reserve 8enk, a
corporation to continue to service it           data indicate that private market                     second Reserve Bank may assume the responsibility
customers.                                      participants view the Intra-day credit                of massaging and monitoring the cross-system
   With respect to Edge and agreement           risk associated with U.S. offices of                  sender net debit cap of particular foreign branch
subsidiaries of foreign banks, the Board                                                              and agency families, This would often be the case
                                                                                                      when the payment; activity and national
believes that because they lack access
                                                  11 With the consent of the parties, aReserve Bank   adsninistrative office of the foreign branch and
to the discount window and ready                other thsa that of on Edge head office can assume     agency family to located in one District, while the
access to aU.S. affiliate that can              the management of these 5e5p0051bi1it1es,                                                           Continued
       Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 11 of 21



                                                                                                 '   22, 298   /;Notices

  TheBoard beltevu4bat this soeroach                    The Reserve. Bank will co                     measures. Indeed, they canthemsetves
                eer Raerye'e risk.                              glitutlons, discussing ways. to       reduce risk. For example. Institutions
while giving U.S. branches and.agencies                     uce their excess use of in                may net gross obligations prior to
of foeigu banks open access to the U.S.                 credit. No regulatory action will be          settlement, with each participant legally
payments mechanism in keeping with                      taken, but the Reserve Sank may               obligated only for the resultant net
the policy of national freattnezit.                        • Advise the appropriate examiner,         position. This arrangement reduces risk
  3. New York Investment Companies,                     who may recommend supervisory action          because it replaces gross obligations
investment companies chartered under                    if the volume of cross-system overdrafts      with the smaller net obligation, and
                                                        are deemed unsafe or unsound, and/or          failures to settle would almost always
Article Xli of the New York Bunking
                                                           •Take appropriate action to limit its      involve smaller exposures (and less
Law are not aubject:to reserve
                                                        own risk exposure on Fedwire,                 systematic risk) than with bilateral net
requirements and do not have access to
                                                           A Federal Reserve flank will apply         settlement. The Board's policy on
the discount window. Because they                                                                     Iimit1ngavoidance techniques Is not
                                                        real-time monitoring to an individual
cannot maintain accounts with' the                                                                    intended to restrict this kind of netting
                                                        institution's Fedwire position when the
Federal Reserve; they cannot use                                                                      arrangement.
                                                        Reserve Bank believes that It faces
Fedwire. Some are, however, active
                                                        exessive risk exposure, e.g. for problem      I. Large-Dollar Payment System
participants on private networks, and
                                                        banks or from institutions with chronic       Advisory Group
therefore introduce risk in the payments                overdrafts in excess of what the Reserve
systtm much like other participants.                    Bank thinks Is prudent. In such acase,           During the course of their studies on
Accordingly, the Board urges that                       the Reserve flank will control Its risk       large-dollar payment system ris   k, the
investment companies that participate                   exposures by monitoring the institution's     Board and Reserve Bank staff have met
on private large-dollar networks                        position, rejecting Fedwire transfers of      with individual depository Institutions,
establish for themselves acrass-system                  funds, and pending Fedwire book-entry         advisory groups, and trade associations
sender net debit cap using the                          securities transfers that would result in     to obtain Information and assistance in
procedures and guidelines the Board has                 overdrafts in excess of alevel the            understanding the risk Issue and the
established for depository institutions,                Reserve Bank judges to be prudent             implications of various risk reduction
                                                           In order that Reserve Banks may            options. Such contacts and discussions
F Bunkers 'Banks                                                                                      have been invaluable. The Board also
                                                        properly monitor the use of intra-day
  Bankers' banks are exempt from                        credit, no future or existing large-dollar    found invaluable the work of the
reserve requirements and do not have                    network will be permitted to settle on        Federal Advisory and Thrift Institution
regular access to the discount window,                  the books of aReserve Bank unless its         Advisory Councils' Committee on
They, do, however, have access to                       members authorize the network to              Payment System Risk, and the Payment
                                                        provide position data to the Reserte          System Committee of the Association of
Federal Reserve payment services. To
                                                        Bank on request.                              Reserve City Bankers. The Board has
protect Reserve Banks from potential
                                                                                                       therefore decided tojormalize this
loss resulting from daylight overdrafts                 H. Avoidance of RIsk Reduction                contact and. with the consultation of the
incurred by bankers' banks, the Board                   Measures                                      Federal Advisory Council and the Thrift
adopted, in 1984 apolicy that bankers'                                                                 Institutions Advisory Council, will
                                                          In Its March 29, 1984, policy
banks should refrain frOm incurring                                                                   appoint knowledgeable representatives
                                                        statement, the Board stated that "use of
overdrafts and post collateral to cover                                                               of depository institutions active in the
                                                        Fedwire for the avoidance of Federal
any overdrafts they do incur. Bankers'                                                                large-dollar payments market to serve
                                                        Reserve or private sector risk reduction
banks may voluntarily give up their                                                                    on ajoint advisory committee with
                                                        measures to not appropriate." The Board
exemption from reserve requirements,                                                                   Board staff representatives.
                                                        adopted this policy to prevent
thus gaining access to the discount                     institutions from participating in                When the Study Group is impaneled,
window and avoid having to post                         bilateral netting arrangements whereby         theBord requests that it s1udy,
collateral.                                             they would exchange gross payment                 e The need for settlement finality
  The Board has determined to                           messages during that day and settle at         and/or payments finality to customer
continued the present policy.                           the end of the day by using Fedwire to         receivers on private wire networks;
                                                        adjust net positions bilaterally. Such            * The costs and benefits of
C. Monitoring                                                                                          consolidation of holding company
                                                        arrangements would be difficult for
  The Board believes that ex-post                       Reserve Banks to detect and would be           affiliates for purposes of determining
monitoring is consistent with the                       outside of Federal Reserve and private-       ,eender net debit caps;
voluntary, flexible approach it has                     sector risk control measures. They still,         •the effectiveness of voluntary
adopted. Under ex-pot monitoring, an                    however, present the some risks to the         sender net debit caps hi controlling and
institution with across-system net debit                payments mechanism that other net              reducing risk exposure;
                                                        settlement arrangements present                   * the need for intra-day funding
position in excess of its cap will be
contacted by aFederal Reserve Bank, 6                   because settlement failures are still          mechanisms, including aFederal
                                                        possible, and such failures would have         Reserve overline facility and or other
                                                        the same deleterious consequences as           special Fedwire services;
oversight responsibility wute- the Inttcea1
8snktr.gAl I, In anotber OtsirkL If ssecond
                                                        any other settlement failures.                    • the beat timing for reductions in cap
Reserve Bank astumeg management rasp          biItt,       The Board, therefore, reaffirms Its         levels;
mont taring date Will be forwarded to the designated    policy that institutions may not use              •the need for afederal funds
administrator for use in the supervisory process,       Fedwire or other payments networks as          settlement window; and
     Even tithe Institution is not. elsie member        amethod of avoiding risk reduction                •other matters of mutual Interest.
bstth, the Reserve Bunk can tasks this cOntact          measures.
becaese an overdraft I. o=undna on Pedwite or                                                         jImpkmeivation Date
because the Institution is In. net debit posttin on e      The Board realizes, however, that
wine system eettUo on the books of the VdsrsI           certain netting arrangements are not            The Board believes that an
Reserve,                                                intended to avoid risk 'eduction              implementation date of March 27, t988,
          Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 12 of 21



                          Federal Registe           Vol. 5, Noi 99           IWedheaday, May 22,1985 [Notices
will provide ample time for depository               factors which, if strongly positive or negative,         should be given to the adequacy of transfers
institutions and the Federal Reserve to              could influence the overall assessment of                to the valuation reserve and the extent to
develop plane and procedures to                      creditworthine ss, For each of the                       which extraordinary or nonrecurring Items,
implement thd Board's policy. The Board              characteristics that become the primary                  securities transactions, and tax effects
                                                     determinants of the initial benchmark                    contribute to net income.
atongly recommends that institutions
                                                     assessment of creditworthiness, each                        The self-grading for asset quality; capital,
establish their sender net debit caps no
                                                    Institution should rank Itself using ascale               and earnings should be combined into a
later than December 31, 198, to enable              from "A" to "W—with "A" being best and                   aignle preliminary grade of creditworthiness
the Federal Reserve Banks to provide                 "fl' being worst.' The Institution's filet               based on an average of the three components.
institutions with a three month trial run           maintained for examiner review of cap                    This preliminary grade would be affected by
of the new plies, During this interval              determination should provide supporting                   two final considerations, which are graded
the agencies may also consult with                  analysis for the self-ranking assigned for               positive (+). neutral (0), or negative (-").
institutions that the former may believe            each of the characteristics,                                 d Uqu1d1ty In most instenca, an analysis
have chosen Inappropriate caps.                        s. Asset quality: Asset quality should be             of liquidity will indicate astable funding
                                                    graded A through U in relation to (a) the
  No implementation date is proposed                                                                         base with areasonable cushion of assets or
                                                    level, distribution, and severity of classified          untapped funding sources available to meet
for any change in Board policies                    assets; (h) the level and composition of non-
regarding overdrafts arising from the                                                                        contingencies. In such instances, liquidity
                                                    accrual and reduced rate assets; (c) the
transfer of book-entry secitritics, and                                                                      should be regarded as aneutral (C) factor in
                                                    adequacy of valuation reserves; and (d)
                                                                                                             assessing creditworthiness. Evidence of
transactions or net settlement services             demonstrated ability to administer and
                                                                                                             frequent, unplanned borrowing from the
generally. Such policy changes, if any,             correct problem credits. The self-analysis
                                                                                                             Federal Reserve's discount window or
and their effective date will be                    should take peer group øalletics into
                                                                                                             deterioration in the normal funding base
determined after further staff study and            consideration,'Obvloesfy, adequate
                                                    valuation reserves and aproven capacity to               would be regarded as negative f—, and,
public comment.                                                                                              depending upon the severity of the situation,
                                                    police and collect problem credits mitigate to
  By order of the Board of Governors of the                                                                  the preliminary grade might be downgraded.
                                                    some degree the weaknesses Inherent in
FederatReserve System, May 17, 1a85.                                                                         Extremely liquid findings (+) could cause an
                                                    given level of classified aseta, In evaluating
                                                                                                             upgrading of the preliminary rating but such
wmism W. Wiles,                                     asset quality, consideration should also be
                                                    given to any undue degree of concentration of            findings would usually need to demonstrate
Secretary of the Board.                                                                                      asset liquidity as well as sound liability
                                                    credits or investments, the nature and volume
Appedix—Guidelines fm Establishing Risk             of credits specially mentioned or classified,            management practices.
Categories                                          lending policies, and the adequacy of credit                e, Holding company odoffi/icste,s: The
                                                    administration procedures. Evaluations of                relative strength of other depository
   This appendix presents the Board's
                                                    asset quality significantly different from the           institutions within the holding company, the
guidelines to be used by ins   titutions in
                                                    last examination report should be hlghliid              ,parent company itself. and nondepositury
determing their own cla s   sifications for
                                                   and supported in the cap determination ins.               institution subsidiaries within the company
purposes of setting their own sender net debit
                                                       b. Capitol, In the self-evaluation of capital,        can also marginally affect the preliminary
caps. The Board policy recognizes that
individual institutions may perceive that          inaititutlons should, as astarting point, note            grade. In general, if the regulators have
special or unusual circumstances not                that the federal guidelines call for aminimum            characterized the consolidated holding
adequately captured in these guidelines may,       primary capital-to-asset r   atio,
                                                                                    of 5,$ per cent          company as in satisfactory condition in its
in the view of the institution's management        for commercial bank& In assigning an A to U               most recent inspection, the Influence should
and board of directors, be consistent with a       self-ranking for its capital position,                    be regarded as neutral (0). If it was regarded
higher grade classification and higher sender      adjustments should be made for the volume                 as less than satisfactory, the influence should
net debit cap. Such aposition should be fully      of risk assets; the level of off-balance sheet            be regarded as negative (-.). Downgrading of
supported by analysis and evidence included        risk ,the volume of classified assets; and                the preliminary grade would be expected if
in the tile for examiner review. Examiners         bank growth experience, plans, prospects,                 significant losses were being incurred or
will be critical If such special factors are not   and peer group capital levels. Asset quality              anticipated at the parent,or nondepository
fully documented, and will be especially           should receive particular welghL An                       institution subsidiary level. If consolidated
sensitive to evidence that special poettjve        institution that ranks its capital more than             capital was materially less than that of the
factors are being emphasized and adverse           one grade above its asset quality has                    subsidiary institution(s), or if holding
factors ignored or downplayed.                     significant burden of proof to Justify such a            company debt service necessitated sscegaive
  The guidelines address creditworthiness;         grade, and its cap rile should contain specific          dividend, from the depository institution
operational controls, policies, and                documentation,                                           subsidiaries, if the parent had a
procedures; and credit policies and                   c, Earnings: Earnings should also be graded           demonstrated record of capital contributions
procedures. The last section suggests how the      A to U with respect to (a) the ability to cover          and other support for the depository
self-evaluation in each of these three areas is    losses and provide for adequate capital, (b)             institution subsidiary, its influence would be
to be combined into an overall assessment          earnings trends, (c) peer group comparisons,             regarded as positive 1+) and could raise the
which is then to be the basis for determining      and {d) quality and composition of earnings.             preliminary grade upward.
asender net debit cap.                             Consideration must also be given to the inter-               These five factors become the initial and
                                                   relationship that exist between the dividend             minimum benchmark for the self-assessment.
I, Creditworthiness
                                                   payout ratio, the rats of growth of retained             Other considerations, such as major changes
  Self-assessment of creditworthiness should       earnings, and the adequacy of bank capital.              in management or pending litigation that is
begin by reference to an institution's most        A dividend payout rate that to excessive in              materiel, may be significant when evaluating
recent examination report and, where               this context, would warrant alower grade                 an institution, Further, in using any ratio in
applicable, to peer group statistics contained     despite alevel of earnings that might                    the analysis of the first three factors, the
in the most recent Uniform Bank Performance        otherwise result in amore favorable                      limitations of using asingle ratio or even a
Report (UBPR) and to the most recent Dank          appraisal. Qu'ality is also an important factor          few ratios must be recognized. To the extent
Holding Company Performance Report                 In evaluating this dimension of an                       that other factors or mitigating circumstances
(BUCPR). Additional data from other reports        institution's performance. Consideration                 are factored into the final grade on
and analyses should, of course, be used.                                                                    creditworthiness, the reasoning for special
  Major emphasis should be placed on asset                                                                  consideration should be clearly laid out for
                                                       Arating of "A" means Isigh" or "stroag" "TB"
quality, capitaL and earnings where an
                                                   means "above average," "C" means "average;" and          the examiner's review. Alsä, in voluntary
institution's relative standing can be                                                                      self-assessment program, management should
                                                   "fl" means "un*ccept*blL"
determined based upon quantifiable                                                                          recognise its own natural predisposition to
                                                      'in the case of classified assets, reference should
measures. Liquidity and holding company            be made to nonperforming assets of peer group            identify and emphasize positive factors while
strength should be added in an modifying           Institutioni,                                            downplaying adverse ones. To the extent
      Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 13 of 21




 1128                   Federal Register        /Vol, 50, No, 99 /Wednesday, May                                      Notices


files io not document balanced enalyen,             assessment of creditworthiness of the branch
examiners should be Critical.                       or agency. Other factor,, like liquidity or the
                                                    effect of aITiliate, should be factored in as
U.S. Branches and Agencies of iorega Ranks
                                                    appropriate. However, because the
    U.S. branches and agencies of foreign
                                                    assessment has already included the strength
banks pose spedial problems for aesaslng
                                                    of the forelgn'bank in measuring capital and
creditworthiness because they do not have a
corporate identity in the United States             earnings, extra care should be taken to avoid
separate from that of the world-wide                double counting the foreign bank In the
Institution. Conceptually, however, the same        assessment of its U.S. branches and agencies.
analytical approach Is appropriate, although
                                                    it, Operational Controls, Policies. end
special considerations are necessary to                                                                     For each system nwhich the institution
                                                    Procedures
address data limitations,                                                                                participates, an acceptable level of risk
    In many cases, branches and/or agencies           Two district components require analysis           exposure needs to be Identified against which
belonging to asingle family will be found in        in the operational area if an institution is to      its position will be monitored. The monitoring
several different geographic regions and            be abl eto monitor its payments systems risk         of each system should then be identified as
subject to different supervisory authorities,       effectively. These components are:                   being: ('I) On areal-time basis (2) on a
Because the strength of the foreign bank,              • monitoring of the position of the               periodic basis and at what periodidty , or (3)
including all of its parts, will largely            institution on each payments system on               not currently monitored or monitored only at
determine the strength of each branch or                                                                 the end of the day. Completing the following
                                                    which it operates and across all systems as
agency in the United States, asingle overall                                                             table summarizes the type of monitoring
                                                    an overall net position.,and
assessment is necessary. Thus, branches and                                                              activity for each system
agencies of foreign banks should assess                a monitoring of individual customers and
creditworthiness on the heals of the entire         the extent to which the instititlon extends              tvmov*t, SYSTEM Moatroaisa C,pAatt.n'y
family—excluding any subsidiary U.S.                credit by making funds available before they
chartered banks or Edge corporations of the         are collected,, both when the lnstitmtion is a,                                                   W
foreign hank—rather than on an individual           sender and areceiver of funds.
branch or agency basis.                                                                                                                               kv
                                                    Both components are important to any
    For capital and earnings, the same              lnstititksn in Its efforts to manage its
approach and standards used for domestic
                                                    payments system risk. The significance of
depositary institutions are appropriate. In
general, the analysis should be done using          monitoring the debit and credit flows to
 available data on the foreign parent.              determine one's overall position and the
Branches and agencies may restate their data        position of individual customers does not
 to identify undisclosed reserves that are          decrease for smaller Institution. For both
                                                                                                           For systems that are moni ored, the extent
functionally equivalent to capital and to           components, the business activity Is first
 adjust earnings to reflect additions to such                                                            of cross-system monitoring can than be
                                                    defined, areas of significant risk identified,
 reserves, To the extent that the                                                                        determined. By identifying which systems
                                                    and the adequacy of controls reviewed.
 assessment relies an these factors, the file                                                            used by the institution are monitored on a
                                                        Factors such as automation or the size of
 availalbe to the examiner should provide                                                                cross-system basis to determine anet
                                                    the institution are not relevant except as they      exposure, an overall risk exposure can be
 supporting documentation.
                                                    affect the ability to monitor risks. References      obtained. As with the individual system, a
     For assessment of asset quality, additional
                                                    to "real-time," therefore, address the               summary table of cross-system monitoring
 difficulties are encountered. While
                                                    timeliness of information, and not the degree        capability can be completed like the one
 information on the overall organization is
 clearly the data that should be used, asset        of automation. Indeed, amanual system in a           below. 4
 quality information on the foreign bank or on      small institution that records every
 the consolidated organization Is generally not     transaction may be for more effective as a
 avilable to either the manager of U.S.             real-time monitor than afully automated and
 operations or U.S. supervisory authorities.        integrated system in amajor operation that
 Instead, only U.S. asset quality information is    has yet to bring one area with substantial
 available, Even then, organizations with            risk exposure In the institution into the
 multiple branches or agencies will typically        monitored environment,
 have examinations of individual entities               Based upon the sna1ysis of the business
 conducted on different dates and by different
                                                     activities and the Indentifloation of existing
  supervisors. Combining these results into a
  single meaningful composite of US.                 monitoring capabilities, each component Is
  operations is therefore not easily                 graded from "A" to "C" indicating arange of           Based upon the cross-system monitoring
  accomplished. Recognizing these                    "strong" to "satisfactory" to "unsatisfactory."     capability and the volume of business
                                                     using specific standards. These two separate        handled by each system arating for the
  imperfections. the only practical approach
  available in most cases is to extrapolate for      ratings of overall activity and individual          institution's controls for its cross-system
  the overall family from whatever information       customer, should then be combined into an           exposure can be obtained as follows:
  is available in the U.S. operations.               overall rating of operational controls,             Rating for Monitor/a9 institution Positions
     Recognition should be given to the              policies, and procedures.
  di stortions that can arise when asingle               a, Monitoring' institution Positions Salads-a   Strong
  international credit becomes problematic and        to Net Debt Cops. Before evaluating its wire         a. 95% of total dollars sent and received are
  is booked entirely in or outside the U& foe         transfer operations, each institution eeede to     monitored on areal-time basis or at 15
  control purposes, In instances where It is          define the magnitude and relative importance       minute intervals or less and
  booked in the US., the credit may unduly                                                                 b. across-system calculation of the
                                                      of each payment system In which It
  overstate the severity of asset problems in                                                            institution's net debit/credit position is
                                                      participates, The table below seeks to define.
  the US, by attributing it entirely to the US.
  when It should more properly be attributed to       the Institutions's funds transfer
                                                      environment."                                          'System may often be its ttd an more tltsn one
   the overall family. Judgment is therefore                                                              tine. For example, amealtime ceas - myatem monitor
  clearly appropriate in assessing asset quality.                                                         on Fed wire and CHIPS might be combined with a
      As in the case for-domestic depositary              To tt*estrat that an institution sass other     periodic monitoring an CHESS andCash Wire to
   Institutions, asset quality, capital, and         payments sysietria with .eam.day sattlemeat, the     give *periodic crass-system monitor on all four
   earnings provide abenchmark for the               list should be expanded to Include there.            systems.
          Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 14 of 21



                             Federal Regiate      /Vol. $0, No. 99 /Wednesday, May 22 1                                    /Notices
 computed and compared to established limits          Once customers have ben identified and                and procedures puts all participants In the
 on areal-time basis or at 15 minute intervals      individual transaction limits set, the
 or less,                                                                                                   payments system at rink, and should preclude
                                                    institution's ability to monitor and control the        asatisfactory overall rating and its
 SocifacIoiy                                        funds positions of its customers can be                 associated debit cap limit regardless of the
                                                    determined, The following checklist Identifies          ratings for creditworthiness or monitoring
    a. 80% of the total average daily dollar        the adequacy of controls:                               capabilities.
 volume sent is monitored on is real-time basis
                                                                                                              The following checklist Identifies the
 or at 31) minute intervals or lens; and
    b, apross-system calculation at the                                                                     adequacy of credit policies and procedures:
 institution's net debit/credit position,
 utilizing these data to computed and
 compared to established limits on areal-time
 basis or at 30 minute intervals or less.
    Unaatisfoceory—Any other condition,
    b. Monitothrg Customer Potidon,j, Each
 Institution should have the capability of
 monitoring the effect of all significant
 transactions on the funds positions of
customers as the transactions occur during
 the business day, Ala minimum, the                      droesties 04 arOse tak en with
                                                     fagwo 50 0v54-larnt b'*eSsd,oe      e.ns
 intitution should be aware of the positions         cethntant aiemçdions ettrIttuted to arun-
 of customers that have ahigh-dollar volume          tome, is          01 thai. somunts its-
of funds transfer activity in relation to each
                                                   4, Arm raiSaws at Ina SuttOn Swatss aa,4e's-
customer's funds position or to the
                                                     treat eanduciad by Ittlasel or asteesal
institution's capital. Customer position should               at teenS wirtw (Th~ re,4e,m
                                                                                                                            med
reflect the collected status of funds sent and       ntrcatd conform to nts, atanOssds eatab.
                                                                                                              MS
received over payments systems, as well as           SantO by Ste Sank AOnItnSamnor astltts,
                                                                                                               tOm at O't.tSt
                                                     and go ttediraJ ftzsa,,ctsj taaiit,aons Ex-
the effect of other activiti es ,such as loan                                                                  —        s       gewat
                                                                                                            S a,, ate
advances, loan payments, and book transfers
                                                                                                               geared to atag*e eta and ,
(transfers between customers on the                                                                           oetatlntatatg nSA alusttSaatl
institution's own books) which msy'resulc            Institutions must be able to respond                   6, Ores sosauc rnansgeraarnt paeos5c*5y
from instructions developed internally or          positively to all questions in this section on              rtoi.w W4 taste aceOs on aQgtttçata an.
received over message systems, such as                                                                         5oatraa ova, * ramla
                                                   monitoring customer positions it they are
                                                                                                            i. Son tO noesots and pasc.dsran s,etsead
LlmskWire or S<W.LF,T. Some customers              honestly to evaluate their control as                         and lasted by So. itattioce's S'stveal
require frequent monitoring because the            satisfactory or strong. These ratings should
volume of their daily transactions is large.       be obtained as follows.-                                  ,     satequsts ttai*oq sys5b*. and 'n-
                                                                                                                        *55 QpertOcs* c,ertt, and wcmini
Others need to be monitored only as aresult
                                                   Rating for Customer Mnilothrg System and                      otto., $5541 teapeesSip Ste neOoS Ins
of particularly large and unusual                  Controls                                                      -us-day onw6',fl .*j           srtes or
transactions.
   Forcustomers that are significant users of         I. Strang—Reeponses to all of the above
the payments system, three questions are           are positive and comprehensive customer
important:                                         monitoring is in forcefor both debits and                 in completing the checklIsts,' negative
                                                   credits on areal-time basis rr at intervals of          responses should not be explained away in
                                                   15 minutes or less,"                                    artier to Obtain asatisfactory self assesamenil
                                                      Z. Satisfactory—Responses to all of the              except under extremely unusual
  Han ttts Wa55,50e 00jew Its vsiuma$              above are positive and comprehensive                    circumstances. Institutions that attempt to
  5Itrr i.Itr*ft to anl5râlto.nt dwoo              customer monitoring is in force for all debit           explain shortcomings will be acrsutinized very
 Itt land, 5we1s' iysla as 54th., Mnd-.
                                                   transactions greater than or equal to the               closely by the examiners,
 Sal 55 fecolym 05
2 Can Se s%05SM5n nx01tn tha po&Ito -r,            monitoring threshold on areal-time basis or
                                                                                                           IV. Overall Assessment
 41 Ins. eane.iws t*iç eta macaunt                 at intervals of 30 minutes or lens.
 thS        at AWAMM emremcItres.,,                  3. Unsatisf ory-'-Axny other condition,                 The three component evaluations can be
3 DO" am fraulb.nç statam VOW, In;                                                                         combined into asingle overall assessment
 or'tswç noSactoti bIases?                              OVERALL RATING FDA OPERATIONAL                     using the following table:
                                                      COninot,g, POLICIES, arm Pnocrosjpes
                              for compliance
with intra-day overdraft position limits
       ishad by credit policy and/or in                     P
                                                                             01.
                                                                           Passion, end
                                                                             Controlt
approving over-limit payments, transactions
other than those being transmitted and
                                                                          uung_.._._ SConE.
received over payments systems need to be
considered ass they directly effect the intra-
day position. Among the transaction sources
                                                   Ee,ac Rtad
that should be considered are message
systems such as RankWire, S.W.LF.T,, and
Telex; Internalbook transfers: and the
institution's own lending, investment, and         ill, Credit Polidett and Procedures
check processing operations. While it may           A simple two-way classification system for
not be feasible or reasonable to monitor all      credit policies and procedures should be
transactions from all areas, material             used. All instit utions sh ould have explicit
thresholds should be established by the           written credit policies and the necessary
Institution as criteria for monitoring            internal procedures in place to implement
individualtransactions or aggregate               there policies. Failure to have such policies
transactions for asingle customer that could
put the institution at risk. The files should
                                                     oIf an institution monitor, on a worst case basis,      in completing the ass'gnment for U.S
clearly document the reasons for Including or
                                                  that is debit, only, astrong rating may still be         branches and agencies of foreign banks that
excluding other areas and justify threshold       justified if the limits etttylitted are no higher than   are part of asingle family operating in more
limits sets.                                      those appropriate for monitoring. net potiOns,           than one state, aaingle assessment for the
      Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 15 of 21




                         Federal                 Vol.          0.       /Wednesday, May 22, 1965 /Notices

family should be condctad.. If eoe than one        450). Division of Backing Supervision                 ACHa have been considering offering
branch or agency has encess to alasae'           and Regulation; or Joy W, O'Connell.                    same-day ACM services with
payments system. the adequacy of                 TDD (202-452-3244).                                     considerably more attractive deposit
operational controls for each access point                                                               times than are presently available.
                                                 SUPPWARY $FO5MATlON Over the
should be assessed separately end combined                                                               Besides the improvements being made in
into asingle assessment, A single cap should     past several years, the Board has
                                                 become increasingly concerned with the                  processing times, the types of payments
then be delermined and divided among the
                                                 risks that large.dollatpayinents systems                made through the ACM are changing
entities having SCCSSL The Me documenting
the assessment and its division among the        present to depository institutions using                Corporations are now using The ACM to
separate entities should be available to         them, to the banking system, and to                     concentrate balances at lead banks, to
examiner, in the office through which the        other sectors of the economy, In March,                 fund accounts of geographically
Federal Reserve exercises its oversight          1984, the Board issued for public                       dispersed operating anita, to repay
responsibilities under the International aardc   comment aseries of proposals to reduce                  loans, and to make vendw payments,
Act.                                             and control these risks. In arelated                    These new uses for the ACHmechaniamn
[FR Doe. 8-12313 Filed 5-21-415.0 ,45 am]        action today (Docket No. R-0515), the                   have contributed to the Increasing
arws.ct cove a,te.oi-e                           Board Issued astatement of the policy it                number of large-dollar payments
                                                 has formulated to reduce these risks.                   processed.
                                                 The Board's policy, reflecting the need                     Currently, payments amounting to $1.0
                                                 for flexibility and the desires of those                million and more are regularly
[Docket No. R..1)5150]                                                                                   processed through the ACK Based on a
                                                 who commented, relies heavily on the
Request for comments on Proposals                efforts of participants to identify,                    one-week survey conducted during
                                                 control, and reduce their own risks.                    January, 1985, approximately 900 ACM
Regarding Automated Clearing Houses
                                                     Since the automated clearing house                  transactions amounting to *10 million or
AcEmm. Board of Governors of the                 (ACM] mechanism was designed in the                     more were processed daily. While these
Federal Reserve System.                          early 1970s, it has been considered to be               transactions represented only about Ui
ACTO* Request for comments.                      asubstitute for recurring consumer                      percent of the daily average number of
                                                 payments that are typically made by                     commercial ACH payments. they
SUMMARY: In arelated action today                paper check. All ACM payments are                        accounted for nearly 50 percent of the
(Docket No. R..O6l$), the Board issued a          value dated, with settlement occurring                  daily overage dollar value of such ACM
statement of its policy to reduce risks on        one or two days alter transactions are                  payments. The majority of these
large-dollar electronic funds transfer            submitted to aFederal Reserve Bank or                   transactions were revocable debit
systems. The Board did not, however,              aprivately-operated ACM. In addition,                   transactions. Only 5percent were credit
resolve the issues of risks arising from          to encourage consumer acceptance,                       transactIons, and they accounted for
automated clearinghouse (Ad-I)                    credit transactions,' such as salary and                about 3percent of the daily average
transactions. The Board is requesting,            pension payments, are generally treated                 dollar value of commercial ACM
therefore, comment on issues relating to          as irrevocable payments on the                          payments.
risks Inherent in such transfers.                 settlement date, that is, the credits are                  Some of the changes that are being
DATE Comments must be received by                 made available to the receiving                         observed in the ACM have been
August 15. 1988.                                  depository institutions at the opening of               encouraged by the Federal Reserve and
*oones& Comments, which should refer              business on the settlement date and                     ACM associations, because they
to Docket No. R-0515l should be                   cannot generally be revoked. In this                    improve the efficiency of the nation's
addressed to Mr. William W. Wiles,                respect, ACM credit transactions are                    payments mechanism. For example, the
Secretary, Board of Governors of the              like Fedwire transfers. Federal Reserve                 use of ACM cash concentration debits to
Federal Reserve System, 20th and C                ACM debit transactions, 5 such as                       accumulate funds at corporations' lead
Streets, NW, Washington, D.    C. 20551, or       mortgage and insurance premium                          banks Is more timely, more reliable, and
delivered to room Br -2223 between 8:45           payments, are treated as provisional                    less costly than the use of papas
                                                  payments and, like checks, they may be                  depository transfer checks. SimnularIy
 A.M. and 5:15 P.M. Comments received
 may be Inspected in room B-1122                  returned if funds are not in the account.               the use of ACM corporate trade
between 8:45 A.M. and 5:15 PM., except             It should be noted that ACM                            payments is expected to lead to
 as provided in §261.6(e) of the Board's          participants appear to treat both ACM                    significant operating efflcl*mcfes Beth
 Rules Regarding Availability of                   debit and credit transactions processed                cash concentration debits and corporate
 Information, 12 CFR 261.8(a).                     by privately operated ACMe like                         trade payments tend to be fairly high
                                                   transactions processed by the Federal                   value payments.
 FOR FURTHER INFORMATI
                     ON CONTACT
                                                   Reserve.                                                   The difference between the Federal
 Edward C. Ettin. Deputy Director (202-
                                                               -




                                                      Because the ACH has been viewed as                   Reserve's fees for ACM and Fedwire
 452-3368), David B. Uumphrey,
                                                   asmall-dollar payment system, the issue                 transactions also provides incentives for
 Assi stant Director (202-452-2557),               of financial risk to ACM participants
 Terrence Belton, Economist (202-452-                                                                      depository institutions to use the ACM
                                                   and operators had not been aserious                     for large-dollar transfers that are not
 2444). Division of Research and                   concern. The characteristics of the ACM
 Statistics; Elliott C. McEntee, Associate                                                                 time-critical. The Federal Reserve
                                                   mechanism, however, are beginning to                    assesses depository institutions
 Director (202-452..2231), Florence M.              change. Improvements in automated
 Young, Adviser (202-452-39$S), Nancy                                                                      transaction fees of 1.0 cant and 1.8 cents
                                                    systems have resulted in shorter                       to originate ACM mire- and
 R. Wesolowski, Operations Analyst                  processing times. Further, both the
 (202-452-3437). Division of Federal                                                                       interregional payments. respectively.
                                                    Federal Reserve and privately operated                 and 55 cents to send aFedwire. Fixed
 Reserve Bank Operations; Joseph R,
 Alexander, Attorney (202-452-2489),                                                                       fees are also assesses to originators of
 Legal Division; Jeffrey C. Marquardt,              'when cream transactions are cent through the          ACM and Fedwire transactions.       -



                                                  ACII fand* are transferred from the originator to        Th ere fore, thetotal cost foriginating
 Economist (202-4&2--2360), Division of           the receiver.
 International Finance; Anthony G.                    When debit inseesettons see processed, funds          either type of payment varies across
 Cornyn, Assistant Director (202-452-             are transferred to the mwtgtnator from the recetssr.      depository institutions based on.
         Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 16 of 21



                       Federal Regist          /Vol, 50, No. 99 /Wednesday, May                                INotices
 transaction volumes, but is typically           institution's liquidity and its ability to              (ii) At what dollar value should the
 much lower for ACH transactions,                settle for other payments or other                   cut-off be?
    Finally, the proposed ax post                settlement arrangements,                                (iii) Should implementation of
 monitoring procedures for large-   dollar          Because of the changes occurring In               procedures to limit large-dollar
 funds transfer systems are likely to            the AC1-  !mechanism and the increasing              payments be acondition of the Federal
 provide incentives for some depository          use of the ACM for large-dollar                      Reserve's granting net settlement
 institutions to use the ACH as a                payments, the Board believes that it                 services to privately operated ACHa?
 substitute for funds transferred over           should undertake athorough review of                    (2) Should restrictions be placed on
 large-dollar networks. Specifically, th e       ACK risk. Pending completion of the                  the types of transactions processed
'ax post monitoring procedures for              study, the Board has decided to                       through the ACM?
 daylight overdrafts measure only wire          postpone further consideration of same-                  (1) Should returns of federal funds be
 transfers of funds as they occur, All           day finality for ACM services, In                   prohibited?
 other "off-line" transactions, including        addition, until this studyls completed,                 (Ii) Should corporate-to-corporate
 check, AC}I, and definitive securities,         the Board believes its ax post                      payments, which are frequently large-
 are netted and are posted ax post at            monitoring procedures to calculate                   dollar payments, be prohibited?
 either the opening or closing of business.     depository institutions' Intra-day net                   (3) How effective would restrictions
To give depository institutions the             debit positions should be modified in                 on dollar amounts and transaction types
greatest benefit or least disadvantage, if      order to (1) recognize the potential risks           be?
 the sum of "off-line" transactions results      associated with ACM transactions                        (b) If the ACM should be used for
 in anet credit, the net credit is posted in    processed by both the Federal Reserve                large-dollar payments, what controls
 the ax post monitoring system as though        and privately operated ACHs, and (2)                 should be Implemented?
it occurred at the opening of business, if      inhibit the use of the ACM to circumvent                 (1) Should ACM transactions be
 the sum results in anet debit, it l            risk reduction pol+cles. Specifically, the           included in monitoring institutions'
posted as though it occurred at the close       Board plans to make the following                    sender net debit caps? If so, should ACM
of business, Therefore, if adepository          modifications to its ex post monitoring              credit and debit transactions be treated
 institution repaid federal funds               procedures (1) Post the gross debits                 differently?
borrowings or originated other large-           resulting from the origination of ACM                    (2) Should participants in privately
dollar credit payments over the ACH—            credit transactions and the gross credits            operated ACHa be required to
all of which are Irrevocable to the             resulting from the receipt of credit                 "guarantee" settlement? Should the
receiver—the debits to the originator's         transactions at the opening of business              "guarantee" apply to consumer/small.
reserve account would be measured in            on the settlement date, and (2) post the             dollar payments only and/or to
the ex post monitoring system with              gross credits resulting from the                     corporate/large-dollar payments, or
other "off-Line" transactions. If the net of    origination of debit transactions and the            both?
these transactions were adebit, it would        gross debits resulting from the receipt of              () Should controls be placed on large-
be posted at the end of the day, with no        debit transaction at the close of                    dollar ACM transactions only, that is,
impact on the mere-day debit position of        business on the settlement date, 5 This              transactions over $25,000, over $100,000,
the sender. As aresult, the procedures          procedure would result in posting the                or $500,000?
would enable depository Institutions to         not of ACM credit transactions in the ax                2. Currently, funds provided to
circumvent the sender net debit caps            post monitoring system at the opening of             receivers of ACM credit transactions
placed on wire transfer systems.                business on the settlement date and in               processed by Reserve Banks are
   Thus, it appears that the ACM may be         posting the net of ACM debit                         generally treated as final payments at
evolving into apayments mechanism               transaction, at the close of business on             the opening of business on the
with many similarities to large-dollar          the settlement date.                                 settlement date. Funds provided to
funds transfer systems. The financial              In order to assist the Board in its               originators of ACM debit transactions
risks, however, are difficult to quantify.      consideration of ACM risk, the public is             processed by the Reserve Banks are
In cases where depository institutions          requested to respond to the following                posted on the settlement dale but are
make funds available to customers for           questions:                                           considered provisional payments until
ACH credit transactions before the                 1. Should the ACM be used for                     the business day following the
payments are final, they are exposed to         handling large-dollar payments?                      settlement date. Net settlement entries,
temporal risk because they may not be              (a) If it should not be, what controls            reflecting the net of both debit and
able to collect from the sender at the          should be implemented to limit Its use to            credit transactions, for privately
time of settlement, in addition. Ad-i           small-dollar payments? For example,                  operated ACHa are posted on the
participants may be exposed to risk In                                                               settlement date, but are generally
                                                   (1) Should restrictions on the dollar
handling ACM debit transactions. While                                                               considered provisional payments until
                                                amount of ACM credit and/or debit
ACM debit transactions are treated as                                                                the business day following the
                                                transactions processed by the Federal
provisional payments by the Federal                                                                  settlement date.
                                                Reserve and privately operated ACHa
Reserve, it is not clear that originators of                                                            (a) How does your institution treat
                                                be imposed?
debit transactions always treat the                                                                  credits received as the result of
funds received as provisional to their             (I) Should restrictions be set for the
                                                gross dollar amounts of all transectiona,            originating debit transactions for
customers. If depository institutions                                                                customers? Are the funds treated as
treat the fund, as final and make them          the daily overage dollar amount of all
                                                transaction the dollar value per deposit             provisional or final payments? Are there
available to their customers, they may                                                               differences in the treatment of retail and
                                                or file, the dollar value per betch, or the
not be able to recover the funds if the                                                              wholesale payments or in the treatment
receiving institution returns the               dollar value of individual transactions?
                                                                                                     of small-dollar and large-dollar
ta-ansacriozs. If adepository institution                                                            payments? Are holds placed on the
were unable to recover funds from a               *Th* pttng proea,isrs to for es poet moo(oing
                                                only and will in no way chinp the urns that sttual   funds?
customer fore return of alarge cash             aetilernrat ea,tiiee s, sada or the t
                                                                                    ime that ACM        (b) If your institution participates in a
concentration debit, if could affect the        tran*tons becorna foist                              privately operated ACM, are funds
        Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 17 of 21




21132                                                                          da    May ZZ las /Notices


treated as provisional or final payments       (Docksi No. A-O5iSAl                            conuitented, relies heavily on the efforts.
to customers before the Federal Reserve                                                        of participants to identify, control, and
                                               Request for Comments on Proposals               reduce their own risks.
net settlement entrià become final? Are
                                               RaQsrdin Book-EnVy Sscurltles                      In formulating its policies to reduce,
credit payments received for conawners
                                               Transfers                                       risks on large-dollar payments systems
and corporations trea ted differently?
                                               ACENCY Board of Governors of the                and control daylight overdrafts of
   (C) Should the Federal Reserve change
                                               Federal Reserve System.                         Fedwire, the Board has always been
the way It treats ACH credit
                                                                                               concerned about the Impact that
transactions, that is, treat credit            ACTION: Request for comments.
                                                                                               overdraft restrictions could have on the
transactions as provisional until the                                                          U.S. government securities market. The
                                               SUMMARY in arelated action today
business day following the settlement          (Docket No, R-0515), the Board Issued a         smooth functioning of this rnaket is vital
date rather than as final at the opening       statement of its policy to reduce risks on      bdth to the conduct of monetary policy
of business on the settlement date?            large-dollar electronic funds transfer          through Fedeini Reserve open market
   (d) if all ACH transactions, both           systems. The Board did not, however,            operations and to the efficient funding of
debits and credits, were treated as            resolve the 185ue8 of risks arising from        the federal debt. Consequently the
previsional payments, how would use of         the transfers of book-entry securities on       Board has thus far exempted from
the ACH be affected? Would your                Fedwire. The Board is requesting,               quatlative overdraft controls those
institution make any changes in the way        therefore, comment on issues relating to        Fedwire daylight overdrafts resulting
it currently handles incoming ACH              risks inherent such transfers..                 from the transfer of book-entry
credit transactions,such as modifying          DATE Comments must be received by               securitlee,tThe Board originally had
funds availability policies?                   August 15, 1985.                                hoped to develop aplan whereby such
   (e) Should net settlement services          ADDRESS: Comments, which should refer
                                                                                                overdrafts would be collateralized with
provided to privately operated ACHe            to Docket No, R-0515A should be                  the underlying securities being
                                               addressed to Mr. William W. Wiles,               transferred. It appears, however, that
provide same-day or next-day finality
                                               Secretary, Board of Governors of the             depository institutions might not be
for net settlement entries? Unet
                                               Federal Reserve System, 20th and C               authorized to pledge all of these
settlement entries are considered                                                               securities because of arrangements they
provisional until the business day             Streets, NW., Washington, D.C. 20551, or
                                               delivered to room 5-2223 between 8:45            may have with their customers.
following settlement date, what risks if
                                               A.M. and 5:15 P.M., except as provided           Moreover, operational considerations
 any would your institution face?                                                               related to tracking the specific security
                                               in I261.8(a) of the Board's Rules
    3 What is your institution's                                                                that caused. and tbereIore'secured, a
                                               Regarding Availability of information,
 perception of the degree of ACH risk          12 CFR 281,8(a).                                 particular overdraft amount rendered
 associated with cash concentration                                                             this process unwotkable.
                                               FOR FURTHER INFORMATION CONTACTI
 debitsand disbursements, corporate                                                                The Board has developed, and is
                                               Edward C. Ettin, Deputy Director (202-
 trade payments, and so forth? Do you                                                           requesting comment an, apr     oposal to
                                               452-3368), David B. Humphrey.
 believe that there are different degrees      Assistant Director (202-452-2557),               control the risks associated with
 of risk associated with debit versus          Terrence Bel ton, Economist (2=452-              daylight overdrafts res  ulting from the
 credit transactions?                          24441, Division of Research and                  transfer of book-entry securities. The
    4. Does your institution monitor or         Statistics; Elliott C. McEntee, Associate       plan would require institutions incurring
 limit the dollar amounts and/or types of       Director (202..452-2231), Florence M.           hook-entry related overdrafts to select
 ACH transactions that are originated for       Young, Adviser (202.-45a-3955), Nancy           one of three collateralization options:
 your customers?                                R, Wesolowski, Operations Analyst               Option t.No Separate Collateral
    S How does your institution see the
    .
                                                (202-452-3437). Division of Federal
                                                Reserve Bank Operations; Joseph It                Under this option, daylight overdrafts
 changes occuring in the ACH—such as
                                                Alexander, Attorney (202-452-2489),             on Fedwtre resulting from book-entry
 the use of the ACH for large-dollar
                                                Legal Division; Jeffrey C. Marquardt,           securities transactions would not be
 payments and the potential for same-
                                                Economist (202-452-2360), Division of           differentiated from other daylight
 day ACH—affecting the way it bandies                                                           overdrafts Each Institution!s sender net
                                                International Finance; Anthony G.
 ACH transactions?                                                                              debit cap would be applicable to the
                                                Cornyn, Assistant Director (202-452-
    e. In order to determine whether the        3450), Division of Banking Supervision          awn of their securities overdrafts and
 interim changes in the Board's ex post         and Regulation; or Joy W. O'Connell,            other ("funds") daylight overdrafts
 monitoring procedures should be                TDD (202-452-4244).                             across all wire systems:
  adopted as final procedures, please           SUPPLEMENTARY INFORMAT10N Over the                The Board expects that most of the
  indicate how the interim procedures           past several years, the Board has               over i0(X) institutions that make book-
  would affect your institution's use of the    become increasingly concerned with the          entry secut'itles transfers would elect
  ACH and its operating costs?                  risks that on large-dollar payments             this option. Securities transfers
     7. What alternative methods for             systems present to depository                  represent asmall portion of most
  controlling ACH risk should the Federal        institutions using them, to the banking
  Reserve consider in Its analysis?              system, and to other sectors of the                Such overdrafts in defined to cecur when the

   By order of the Board of Governors of the     economy. In March, 1984, the Board             Institution receivin book-entry securities has
                                                                                                received acre book-entry securities against
 Federal Reserve System, May 17, 1985,           issued for public comment aseries of
                                                                                                p
                                                                                                ayment et apoint in ttxnethss it its. sent. Since
                                                 proposals to reduce and control these
 Withem W, Wiles,                                risks, In arelated action today (Docket
                                                                                                leoeipt eta book-entry security and Fadwire
                                                                                                payment to the sender are slmu1taneou the sander
 Secretmy of the Board                           No. R-0515), the Board issued a                of the security receives Fedwire payment regardless
 1'R Do 65-12315 Filed s-21-55 84S amj                                                          of the securities overdraft position of the receiver of
                                                 statement of the policy it has formulated
                                                                                                the securities. The definition used for abook-entry
 lakalO cooc saio..ai-M                          to reduce these risks. The Board's             securities overdraft means that such an overdraft
                                                 policy, reflecting the need for flexibility    could occur even while the receiver'a itod, account
                                                 and the desires of those who                   was in credit balance.
         Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 18 of 21



                          Federal Registe         Vol. 50, No, 99 /Wednesday, May 22, 1995 /Notices

 institutions' business activity. Thus,            institution's obligation to instruct           intra-dy risk exposure. In that regard,
 there would be little benefit for these           customers to direct their senders to           the bard proposes that institutions
 institutions in establishing the                  deliver eligible securities to the Pledge      setectingihis option be examined by the
 collateralization and tracking                    Account. It would also be the                  Federal Reserve and other bank
 procedut-es associated with the other             institution's responsibility to transfer       supervisors to ensure that the
 options.
                                                   Ineligible securites out of the Pledge         collaterallzation process is property
 Option 2. Stable Pool of Collateral               Account promptly upon learning of their        administered by participating banks.
                                                   ineligibility.                                 Proper administration should both
   This option would allow institutions
                                                     On the basis of this agreement, the         protect the interests of third parties in
 to establish aseparate pool of
                                                   Reserve Bank would permit the                  securities, and encourage changes over
 collateral 2 held at the Reserve Bank to
                                                   institution to incur asecurities-related       time in market practices of large
 secure any daylight overdrafts arising
                                                   overdraft. To determine when an               clearing banks in ways that will reduce
 from their book-entry securities
                                                   overdraft occurs, aseparate dollar            Reserve Bank and systemic exposure
 business. Collatral in this pool would
 be pledged by the institution to the              balance would be kept for securities          Such changes and careful supervision of
                                                   transactions. At the beginning of each        depository institution management and
 Federal Reserve, and the pledged
 securities or other assets in this account        day, aseparate securities dollar balance      control of the securities clearing
                                                   of zero ($0) would be established for         business are necessary before the
 would not be eligible for transfer during
                                                   each institution, and such balance            Federal Reserve, federal and state bank
 the regular business day-Changes in the
account could be made overnight.                   would be recorded separately from             supervisors, market participants, and
Securities overdrafts in excess of the            other activity in the account while the        investors can be truly comfortable with
 value of the stable pool would be                securiti  es wire is open A securities         this option.
included with "funds" daylight                    related overdraft would occur when the            This proposed option differs in a
exposures and covered by the net debit            payments for securities received               major way from an approach favored by
caps that apply to such exposures.                exceeds the dollar credits posted to the       the large clearing institutions. These
   A separate pool of collateral would be         securities dollar balance. The                 institutions maintain that the value of
useful to correspondent banks that                occurrence of asecurities-related              the collateral in the Pledge Account will
engage in asizeable securities transfer           overdraft will automatically trigger the       almost certainly not cover securities.
business but may not have the right to            pledge of securities deposited in the          related daylight overdraft amounts. This.
pledge cuammer book-entry securities              Pledge Account.                                isbecause some portion of their daylight
being transferred, as required by option             During the day, the institution may         overdrafts arises out of transactions for
3. below, These institutions generally            continue to run asecurities-related            trust accounts or involves securities that
separate their securities traffic and             overdraft provided that the Pledge             cannot be pledged to the Reserve Bank.
related funds transactions from other             Account contains securities of avalue          The clearing banks maintain, however,
business activity, and their securities.          equal to the overdraft, if an incoming         that they should have enough collateral
related overdrafts would be too large to          transfer of securities ineligible for          in the Pledge Account to secure about 90
be accommodated within the caps that              pledge would increase the securities           percent of their securitries-related
will apply to their other daylight               related overdraft beyond the value of           daylight overdraft, and have argued that
exposures. Therefore, aseparate                   the collateral, aseparate pee1 of non-         option 3should provide apercentage of
securities collateral pool would be               transferrable collateral provided              unsecured credit of at least 10 percent
essential to controlling and managing             specifically for securities transfers could   for book-entry overdrafts. The purpose
their securities related risks.                   he used to secure the remaining                of this unsecured credit would be to
                                                  exposure, Overdrafts above the awn of         provide flexibility to the large clearers,
Option 3. Pledge Account                          the pledged book-entry and definitive         and to avoid as much as possible any
   Under this option, each institution           collateral pool would be included in           mixing of their securities business with
would enter into an agreement with its           "funds only" overdrafts subject to the         other funding activity. They do agree,
Reserve Bark Froviding for the creation          institution's sender net debit cap. In this    however, that if collateral value in the
of aspecial book-entry securities                fashion, the entire securities-related         Pledge Account fell below 90 percent of
account for deposit of securities that the       daylight overdraft would either be             the overdraft, the remaining amounts
institution would warrant it has                 secured by the pool of pledge-eligible         would be co'ered by aseparate pool of
authority to pledge to the Reserve Bank          securities, by aseparate non -                 securities, or be combined with other
to secure daylight overdrafts.                   transferrable pool of collateral, or           funds exposures under the applicable
Consequently, each institution would             combined with "funds" daylight                 net debit cap
have aminimum of two securities                  exposures,                                        Another issue is whether it would be
accounts—one to hold pledged                        Of the three options presented, this        necessary to perform amarket value
securities ("Pledge Account") and one to         one relies most heavily on the quality of      check an the securities being transferred
hold securities ineligible for pledge to         afinancial institution's internal              by book-entry, Under the current
the Reserve Bank. The Reserve Bank               management and control. In contrast to         securities transfer process, there is no
would rely on the institution's warranty         the other two approaches, this option          check that the cash debit associated
of authority to pledge, which would              does at result in any de-facto cap on          with asecurities transfer has any
cover both securities owned by the               daylight exposure: Indeed, this approach       relationship to the market value of the
institution and customer securities that         can yield aresult in which such                securities. The transferring Institution
the institution has aright to pledge by          exposures are limited only by the              specifies the purchase price, but it can
virtue of its intra-day credit agreements        capacity of banks to collateralize their       send securities against no payment, or
with its customers. It would be the              own credit extensions to dealers. This         conceivably, for an amount much
                                                 option also does little to require changes     greater than the value of the securities.
  'Sact, as collateral alrdy on depor at Reery   in market practices, such as the intra-        The cash credit for securities being
banks to sear, porotisI dicowft window           day receipt/delivery matching process,         transferred is made simultaneously with
advanem                                          that clearly exacerbate the level of           the transfer at the purchase price and
     Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 19 of 21




21134                Federal Register IVol. 50, No. 99 1Wednesday, May                                   Notices


the receiving institution is immediately      extension of the time that the securities       1122 between 8:45 A.M. and 515 P.M.,
debited for the same amount. This             wire must remain open?                          except as provided in 1261,8(a) of the
procedure dates from the origins of the          2. What will it cost for an institution      Board's Rules Regarding Availability of
book-entry process In the early ISOOs-        to implement the option it would likely         Information, 12 CFR 281.8(a),
The Federal Reserve assumed the risk of       choose (please specify the option)? Will        FOR FURTHER INFORMATION CONTACT.
ensuring that the cash credits given to       the option chosen be costly to operate?         Edward C. Ettin, Deputy Director (202-
Lite originators of securities transfers      If so, will this affect the efficiency of the   452-3308), David B. Humphrey,
would be ultimately covered by the            13$. government securities market?              Assistant Director (202-452-255?),
recipient who would be debited, Clearly,         3. Should institutions choosing option       Terrence Briton, Economist (202-452-
this process is in conflict with the          3('Pledge Account") be allowed an               2444), Division of Research and
                                              amount of unsecured credit on any               Statistics; Elliott C. McEntee, Associate
current emphasis on daylight exposure
                                              overdraft amount as has been indicated
measurement and control,                                                                      Director (202-452-2231). Florence M.
                                              is needed by the large clearing                 Young, Adviser (202-.452-3955), Nancy
    The Federal Reserve has not               institutions? if not, could such
previously considered amarket value                                                           R. Wesolowaki, Operations Analyst
                                              institutions supplement the Pledge
check necessary, but has relied upon                                                          (202-452-3437), Division of Federal
                                              Account with non-transferrable
sending and receiving institutions to                                                         Reserve Bank Operations; Joseph R.
                                              collateral up to ioo percent of their
adjust under/and over-payments                book-entry securities overdraft? If not         Alexander, Attorney (202-452-2489),
through the reversal process. Howeser,                                                        Legal Division; Jeffrey C. Marquardt,
                                              can the amount uncovered be included
the possibility that the purchase price                                                       EconomIst (202-452-2200), Division of
                                              with all other daylight overdrafts and
and the value of securities being                                                             International Finance: Anthony G.
                                              subject to net debit caps? What are the
 transferred could be seriously out of line                                                   Cornyn, Assistant Director (202-452-
                                              costs and market implications of these
 provides an opportunity for the setter of                                                    3450), Division of Banking Supervision'
                                               approaches?
 securities to acquire, at least                  4. If the Federal Reserve adopts the        and Regulation; or Joy W. O'Connell,
 temporarily, cash in afraudulent way.         proposed market value check on the             TDD (202-432-3244),
Moreover, this deficiency could                purchase price at securities being             SUPPLEMENTARY iHFORMAY1ON over the
 seriously undermine the                       transfeted, market participants may also       past several years, the Board has
 collateralization process recommended         have to adopt such apractice. Are such         become increasingly concerned with the
 under option 3, since the Reserve Banks       measures necessary? If so, how much            risks that large-dollar payments systems
 would have no assurance that collateral       would such adevelopment effort cost?           present to depository institutions using
 amounts held in the Pledge Accounts            By order of the Board of Govemore of the      them, to the banking system and to
 were actually worth the funds extended       Federal Reserve System. May 17, 19a5.           other sectors of the economy. In March.
 to the purchaser for them in the form of     William W. Wiles,                               1964, the Board issued for public
 adaylight overdraft Thus, the Board                                                          comment aseries of proposals to reduce
                                              Secretory of the Board
 Proposes that the securities transfer                                                        and control these risks. In arelated
                                              WR Doc, 85-12314 Piled 5­21-485. 8
                                                                               .45 ami
 system used by Reserve Banks be                                                              action today (Docket No, R-0515). the
 modified to include areasonableness          8lLuG coos saio-ei-v                            Board issued astatement of the policy it
 check between the purchase price and                                                         has formulated to reduce these risks.
 the market value of the securities being     (Docket No. R-0515C)                            The Board's policy, reflecting the need
 transferred. This may be difficult                                                           for flexibility and the desires of those
 operationally and require market             Request for Comments on Net                     who commented, relies heavily on the
 changes, However, this control               Settlement Arrangements                         efforts of participants to Identify,
 deficiency will have to be addressed if      AGENCY'. Board of Governors of the               control, and reduce their own risks.
 the collateralization process is to be       Federal Reserve System,                             Currently, the Federal Reserve
 meaningful.                                                                                  provides net settlement services to a
                                              AT1OK Request for comments.
     The Board requests comments from                                                          variety of private sector clearing
  the public on all aspects of this            SUMMARY.- In arelated action today              arrangements in addition to large-dollar
  propoash specifically;                       (Docket No. R-.0515), the Board issued a       funds transfer networks; e.g., check
     1. Will the choice among the three        statement of its policy to reduce risks on      clearing houses, credit card processors,
  options proposed meet the needs of all       large-dollar electronic funds transfer          automated clearing houses (ACRsJ, and
  institutions involved in the book-entry      systems. The Board did not, however,            small-dollar funds transfer networks,
  securities market? Will any type of          resolve the issues of risks arising from        such as. automated teller machine
  institution or any particular institution    the provision of net settlement services        (ATM) and point-of-sale (POS)
  be seriously disadvantaged by the            to other than large-dollar transfer             networks.
  collateralization proposal? If so, what      systems. The Board is requesting,                  The finality accorded net settlement
  further collateralization or other           therefore, comment on issues relating to        entries varies. In most cases, net
  option(s) might be proposed, recognizing     risks inherent to such arrangements.            settlement entries that the Federal
  that the aim is to secure daylight           DAM Comments must be received by                Reserve processes for large-dollar funds
  exposures arising out of securities          August 15, IM.                                  transfer networks are accorded same-
  transfers to the greatest degree               nnaEss: Comments, which should refer          day finality. Net settlement entries for
  possible—or to include such exposure         to Docket No, R-051$C should be                 some check clearing house
  within an institution's sender net debit     addressed to Mr. William W. Wiles,               arrangements are also treated as final
  cap—with the least impact on the             Secretary, Board of Governors of the            on the business day they are received.
  government securities markets? Will           Federal Reserve System, 20th and C             Net settlement entries for ATM, POS.
   implementation of any of the proposals       Streets, N.W., Washington, D.C. 20551,         and.some ACHs are considered
   have any impact on the ability of market     or delivered to room 8-2223 between            provisional until the business day
   participants to turn items around? Will      8;45 A.M. and 5.-IS P.M. Comments               following the receipt of the settlement
   the proposals require any significant        received may be inspected in room, B-          data,
          Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 20 of 21



                         Federal Register /Vol. 50, No, 99 /Wednesday, May 22, 19                        INotices                  21135

       From the perspective of the Federal           3. How do the terms of settlement          Streets, N.W., Wa&hington, D.C. 20551,
   Reserve, the potential for financial loss     arrangements affect the way your               or delivered to room B-2223 between
   Is greater when settlement entries are        depository institution handles the             11:45 AM. and 5:25 P.M. Comments
   accorded same-day finality and lower          following underlying transactions, that        received may be inspected in mom R-
   when next-day finality is provided. This      is, as final or provisional payments;          1122 between 8:45 A. M. and 5:25 P.M.,
   Is because the risk of loss increases as             ACH transactions?                       except as provided in I261.6(a) of the
   the time the Reserve banks have to                • ATM transactions?                        Board's Rules Regarding Availability of
   ensure that institutions possess                  • POS transactions?                        Information, 12 CFR 281.6(a).
   sufficient balances to cover net debit            • Checks?
   positions is reduced. Conversely, for             • Credit cards?                              A copy of the comments may also be
   depository institutions participating in         4. If the terms of net settlement           submitted to the O!{l3 desk officer for
   private clearing arrangements, financial     arrangements do not affect the way your         the Board: Mr. Robert Neal, Office of
   risk declines as the time between the                                                        information and Regulatory Affairs.
                                                institution handles the underlying
   exchange of transaction data (or the                                                         Office of Management and Budget, New
                                                transactions, what factors are
  settlement date in the case of the ACH)       considered in determining the treatment         Executive Office Building, Room 3208,
  and the finality of settlement entries is     accorded:                                       Washington, D.C. 20503,
  reduced. Therefore, same day finality             • ACH transactions?                         FOR FURTHER INFORMATION CONTACT:
  reduces temporal risk for participants in         • ATM transactions?                         Edward C. Ettin, Deputy Director (202-
  private clearing arrangements, shifting           • POS transactions?                         452-3368), David B. Humphrey,
  that risk to the Federal Reserve. As              • Checks?                                   Assistant Director (202-452-2557),
  private sector, temporal risk is reduced,            Credit cards?                            Division of Rcsem'ch'and Statistics;
  systemic risk is also reduced.                    5. Should institutions participating in     Elliott C. McEntee, Associate Director
      The second factor concerning the risk     private clearing arrangements                   (202-452--2231), Florence M. Young,
  faced by depository institutions              "guarantee" settlement or provide a             Adviser(202-452_3955), Division of
  participating in private clearing             means whereby settlement is assured,            Federal Reserve Bank Operations;
  arrangements is the treatment that they       such as, through the use of insurance,         Joseph R. Alexander, Attorney (202-452-
  accord the transactions that are             indeminification, or collateral, in the          2489). Legal Division; or Joy W.
  exchanged in these arrangements. If          event that one or more participants may         O'Conr,ell, TOO (202-452-3244).
  funds are made available to customers        be unable to settle? What type of                  A copy of the request for clearance
  as the transaction data are received—a       "settlement guarantee" arrangement              (SF 83), supporting statement,
  common practice for participants on          would be most effective?
                                                                                               instructions, and other documents that
 funds transfer networks—or on a                   By order of the Board of Governors of the   will be placed into OMB's pdblic docket
 specified settlement date—in the case of      Federal Reserve System, May 17, 1985.           files once the collection is approved
 participants in ACH networks—then the         William W, Wiles,                               may be requested from the agency
 timing of finality for settlement entries     Secretory of the Board,                         clearance officer, whose name appears
 directly affects the risk faced by the                                                        below. Federal Reserve Board Clearance
                                               [FR Doe, BI-illia, Filed 5-21-85: 8:41 anij
 participating institutions. On the other                                                      Officer: Ms. Cynthia Glassman, Division
                                               aausc coos 81G-01-M
 hand, if the underlying transactions are                                                      of Research and Statistics, Board of
 treated as provisional payments to                                                            Governors of the Federal Reserve
 customers and funds are not made              [Docket No, R-O&15D1                            System, Washington, D.C. 20551 [202-.
 available immediately, the timing of                                                          452-.3829).
 finality of settlement entries may not        Request tor Comment on Information
                                               Collection Request Directed to                  SUPPLEMENTARY 1NF0RMAT0N Over the
 substantially increase parti   cipating
 institutions' risk,                           Automated Clearing Houses                       past several years, the Board has
                                                                                               become increasingly concerned about
     Because the Board is reconsidering       AGENCY: Board of Governors of the                the risks that large-dollar payments
 certain aspects of risks associated with
                                                                                                                                   -



                                              Federal Reserve System.                          systems present to depository
 providing net settlement services, it is
                                              ACTION. Request for comments,                    institutions using them, to the banking
requesting public comment on the
 following issues-                                                                             system, and to other sectors of the
                                              SUMMARY: In related action today
                                                                                               economy. In arelated action today
     1, Should the terms of net se ttl em ent (Docket No, R-0515), the Board issued a
                                                                                               (Docket No. R-515), the Board issued a
arrangements vary based on the type of        statement of its policy to reduce risks on
                                                                                               statement of the policy it has formulated
transactions being settled?                   large-dollar electronic funds transfer           to reduce these risks,
      a) if they should vary, should the      systems, As part of this policy, the
differences be reflected in the finality                                                          The Board's policy statement noted
                                              Board has required that automated
accorded settlement entries (same-day                                                          that its concern with risks on large-
                                              clearing houses (ACHs) obtaining net
                                                                                               dollar payment systems did not
or next-day) or be reflected on the           settlement services front the Federal
controls imposed in the group of                                                               originally encompass the risks posed by
                                              Reserve must, among ether things,
depository institutions requesting net                                                         ACIls because the ACH was regarded
                                              provide the Federal Reserve with certain
settlement services?                                                                           as asmall-dollar payments system.
                                              information. Accordingly, the Board is
                                                                                               Recently, however, the ACH has been
    (b) If they should vary, what types of    requesting comment on the parameters
settlement should be provided to;                                                              evolving in such away that it appears to
                                              of this information collection request.
    * Privately operated ACi-ta?
                                                                                               he taking on many of the characteristics
                                              DATE: Comments roust be received by              of large-dollar systems and
    • ATM networks?                           June 17, 1085.
    • POS networks?                                                                            consequently presents many of the same
                                              ADORES Comments, which should refer              risks. Accordingly, the Board has
    • Check clearing houses?                  to Docket No, R-.05150 sh ould be                directed its staff to undertake astudy of
    • Credit card processors?                 addressed to Mr. William W. Wiles.               ACH risk and is requesting comment an
    2. If they should not vary, please        Secretary, Board of Governors of the             various aspects of such risks. (See
explain why.                                  Federal Reserve System, 20th and C               Docket No. R-0515B.)
      Case 1:22-cv-00125-SWS Document 283-4 Filed 02/02/24 Page 21 of 21



                                                                                                        Notices
21138                    Federal Relate           /Vol.           a..     I    edneaday, May 22, 1985


   Until the Board's study of ACH risk Is                 1. Which of the following would be
complete and the Board has formulated                  least costly or burdensome
anew policy to deal with such risk, the                   (a) to provide each of the four ,elata
Board is modifying its procedures for ax               elements for ea ch participant regardless
post monitoring of intra-day credit                    of the amount of each element?
exposures to (1) recognize the potential                  (b) to provide for each participant
risks associated with ACH transactions                 only the value of the data element when
processed by both the Federal Reserve                  it exceeds aspecified amount, e.g.,
and privately operated ACHe, and (2                    $L000 $10,000; $25,000; $50,000; $100,000.
inhibit the use of the ACH to circumvent                   2. Given the Board's objectives. is
the Board's risk reduction policies                    there any way in which it could obtain
adopted today. Specifically, the Board                 this Information in any less costly or
intends that, for the purpose of ox post               burdensome manner for the purposes of
monitoring. gross debits resulting from                 ax post monitoring?
the origination of credit transactions                     In accordance with section 3507 of the
and gross credits resulting from the                    Paperwork Reduction Act of 1980,44
receipt of credit transactions will be                  U. S.C,section 3507, end the regulations
posted at the Reserve Bank's opening of                 issued thereunder, 5CFR 18201z these
 business on the settlement date, and                   information collection requests will be
 gross credits resulting from the                       submitted to the Board for review under
 origination of debit transactions and the              delegated authority from the Office of
 gross debits resulting from the receipt of             Management and Budget after
 debit transactions will be posted at the               consideration of the comments received
 Reserve Bank's close of business on the                during the 30 day comment period.
 settlement date.' This procedure would                  By order of the Board of Governors of the
 result in posting the net of ACH credit               Federal Reserve System. May 17. 1885.
 transactions In the ex post monitoring                William W. Wiles,
 system at the opening of business on the              Secretary of the Board
 settlement date and in posting the net of             [FR floe. 85-11317 Filed 5-21-85, 845 dMl
 ACH debit transactions at the close of
                                                       54u.5sQ 000€ $210-Ct-U
 business on the settlement date.
     The Board has also determined that
  privately operated ACHe will not be
  eligible to receive Federal Reserve net
  settlement services unless they agree to
  provide the Federal Reserve with the
  data necessary to include transactions
  processed over their networks in the ox
  poet monitoring system. Under the new
  ax post monitoring proceeding, the
  information that will be required from
  each ACH will be the total dollar value
  for each ACH participant of the
   following elements (1) Gross debits
   resulting from the origination of credit
   transactions, (2) gross credits resulting
   from the receipt of credit transactions,
   (3) gross credits resulting from the
   origination of debit transactions, and (4)
   gross debits resulting from the receipt of
   debit transactions. Beginning September
   30, 1985. the information is to be
   provided to the Reserve ilank providing
    the net settlement service,
      The Board requests comment Ion the
    following as pects of this information
    collection request

    'Tha posti ng procedure te for t post m110rto5
  purposel only and will in no way change when
  *ctuel settlement entries are made and when ACH
  trnreeilnoa become flnet Cnerafly, 'ands
  provided to receivers of ACti credIt transaction*
  prucea,d by Reserve Banke art treated an Itnal
  payments at the opening aj business on the
  settlement date. Funds provided to erttsnalara of
  ACH debit tranesottona preceaned by the Resaree
  Bank, ye posted on the settlement date, but are
  considered provisional payments until the buatneat
  dey following the settlement date.
